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                          IN TI-IE UNITED STATES DISTRICT COURT
                          FOR TI-IE EASTERN DISTRICT OF VIRGINIA
                                       Richmond Division

MARGARET A. RANDOLPH, TRUSTEE                       )
FOR THE MARGARET A. RANDOLPH                        )
REVOCABLE TRUST U/A 03/06/97,                       )
Derivatively on Behalf of ALTRIA GROUP,             )
INC. ,                                              )
                                                    )
                                 Plaintiff,         )
                                                    )
        V.                                                             3:21cv00209
                                                    ) Civil Action No. _  _ _ __
                                                    )
WILLIAM F. GIFFORD, JR., HOW ARD A.                 j   VERIFIED SHAREHOLDER
WILLARD III, JOHN T. CASTEEN ill,                   )
DINYAR S. DEVITRE, THOMAS F.                        )   DERIVATIVE COMPLAINT
FARRELL II, DEBRA J. KELLY-ENNIS, W.                )
LEO KIELY II!, KATHRYN B. MCQUADE,                  )
GEORGE MUNOZ, MARKE. NEWMAN,                        )   JURY TRIAL DEMANDED
NABIL Y. SAKKAB, VIRGINIA E.                        )
SHANKS, ELLEN R. STRAHLMAN, KEVIN                   j
C. CROSTHWAITE, JR., ADAM BOWEN,                    )
KEVIN BURNS, JAMES MONSEES, RIAZ                    )
VALANI, NICHOLAS J. PRITZKER, and                   )
JUUL LABS, INC.,                                    )
                                                    )
                                Defendants,         )
                                                    )
        and,                                        )
                                                    )
ALTRIA GROUP, INC.,                                 )
                                                    )
                        Nominal Defendant.          )

         Plaintiff Margaret A. Randolph, Trnstee for the Margaret A. Randolph Revocable Trnst

 U/A 03/06/97 ("Plaintiff"), by and through her undersigned attorneys, alleges the following upon

 personal knowledge as to all allegations concerning herself, and upon inf01mation and belief as to

 all other allegations based, among other things, upon the investigation conducted by her attorneys,

 which includes a review of filings with the U.S. Securities and Exchange Commission ("SEC"),

 news rep01ts, press releases, and other publicly available sources, as well as filings from various

 proceedings, including the securities class action captioned Klein et al. , v. Altria Group, Inc. et al. ,
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No. 3:20-cv-00075-DJN (E.D. Va.) (the "Securities Action"), currently pending in this U.S.

District Comt. Plaintiff believes that after a reasonable opportunity for discovery is afforded,

substantial additional evidentia1y support will exist for the allegations set f01th herein.

                                    NATURE OF IBEACTION

        1.      Tilis shareholder derivative action is brought on behalf of nominal defendant Altria

Group, Inc. ("Altria" or the "Company"), against ce1tain cmTent and former members of the

Company's Board of Directors (the "Board"), certain of its executive officers and certain current and

former officers of JUUL Labs Inc. ( 'JUUL") for breach of their fiduciary duties of loyalty, care, and

candor to Company shareholders, aiding and abetting breach of their fiduciaiy duties, violations

of Section lO(b) of the Securities Exchange Act of 1934 (the "Exchange Act") and Rule l0b-5

promulgated thereunder, unjust emichment, and waste of corporate assets.

        2.      Altria is a holding company that has produced and mai·keted tobacco and other

products in the United States for the past centmy. Tlu·ough its wholly owned subsidiaiies, the

Company sells cigarettes, e-cigai·ettes, pipe tobacco, smokeless tobacco, and wine, among other

products, under vaiious brand names, including the Mai·lboro brand.

        3.      JUUL is a manufacturer and seller of e-cigai·ette electronic nicotine delive1y

systems ("ENDS" or "e-cigai·ettes"). Since 2015, JUUL has mai~keted and sold an e-cigai·ette

vaporizer ( or "Vape"), similai· in shape and size to a USB flash diive, and "pods," i.e. nicotine

filled caitridges that fit into the Vape. According to its website, JUUL "was founded with the goal

of helping to transition the world's one billion adult smokers away from combustible cigarettes." 1

        4.      JUUL's products have been successful in significant pai·t because of their



1
 JUUL Labs, Our Mission, available at:
https://w.vw. juullabs.com/about/company/#:- :text=Juul%2 0Labs%20was%2 0founded%20with,the%20harm%20ass
ociated%20with%2 0tobacco (last accessed March 10, 2021).



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popularity with underage persons, who make up a large portion of JUUL's overall customer base.

JUUL marketed its products to underage smokers and sold cartridges with child-friendly flavors

such as mango, mint, creme brillee, mixed fruit, and cucumber, all of which were banned by the

FDA in 2009 for combustible cigarettes. Indeed, JUUL's products were originally designed for

and have at all times been marketed towards minors and young adults. Many of JUUL's youth

targeted adve1tisements, one of which appears below, were placed on websites that JUUL knew

were   frequented   in significant pait by      children   and   teens,   including: nickjr.com;

caitoonnetwork.com; hellokids.com; mathplayground.com; socialstudiesforkids.com; teen.com;

seventeen.com; and thecollegeprepster.com, among many others.




       5.     JUUL claims its products ai·e less haimful than combustible cigai·ettes even though

its ca1tridges contain significant amounts of nicotine, a highly addictive central nervous system

stimulant. JUUL's cai·tridges contained nicotine salt, created by combining nicotine derived from

tobacco products with benzoic acid, which was meant to deliver as much nicotine as a cigai·ette,

so that one pod would be equivalent to a pack of twenty cigarettes. JUUL ca1tridges contained

more nicotine than cigai·ettes because a greater percentage of the nicotine in the nicotine salt

solution can be released than the nicotine from a cigai·ette. JUUL 's products therefore had the

potential to give users more nicotine, not less, than cigai·ettes.   Rather than publicize this


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info1mation, JUUL held out its Vape as the ultimate tobacco cessation product, as illustrated by

the adve1tisement below where JUUL held its product out as a way to help smokers quit. "TI1e

average smoker tries to quit 30 times. Make the switch."


                                      WARNING: This product
                                    contains n1cot1ne. Nicotine
                                     is an addictive chemical .

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       6.      Altria developed and sold its own ENDS e-cigarette products, but they were not as

successful as JUUL 's. By 2018, JUUL's ENDS e-cigarettes accounted for approximately 70% of

the market.

       7.      At some point Altria evidently learned that its ENDS e-cigarette products were

being purchased by minors and concluded that selling tl1ose products carried legal or public-

relations risks. On October 25 , 2018, Altria announced it would remove its pod-based e-cigarette

products from tl1e market until it "receivel dJ a market order from the FDA or tl1e youth issue is

otl1e1wise addressed. " On December 7, 2018, tl1e Company issued a press release announcing the

discontinuation of all its e-vapor products.




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         8.       By December 2018, the latest, the Altria Defendants2 had knowledge that JUUL's

adve1tising and marketing practices targeted youth populations, including because it had

longstanding institutional knowledge of, and for years paiticipated in, these same practices.

Indeed, 20 yeai·s eai·lier in 1998, Philip Manis International ("Philip Manis"), a predecessor

company to Altiia, signed a comprehensive agreement with 46 states attorneys general that

permanently prohibited Philip M01Tis and other tobacco companies from directly or indirectly

targeting youths in tobacco product adve1tising.

         9.       TI1e Altiia Defendants also knew by December 2018 that JUUL's massive mai·ket

shai·e was lai·gely comp1ised of youths, and that vai·ious governmental authorities, including the

U.S. Food and Drng Administi·ation (" FDA") which is responsible for the regulation of tobacco

products, had become increasingly concerned with what the agency deemed an "epidemic" of

vaping by youth. In addition, numerous class and individual lawsuits claiming physical damage

from vaping were already filed at the time.

         10.      Yet, notwithstanding JUUL's long history of targeti.ng youth, on December 20,

2018, Altria announced it acquired $12.8 billion worth of JUUL's stock pursuant to a stock

purchase agreement ("SPA"). This amounted to a 35% interest in JUUL.                          Altiia estimated the

value of JUUL to be approximately . 38 billion.

         11.      As pait of Altiia's investment, Alti·ia issued JUUL a 2 billion payment that JUUL

distiibuted as bonuses to its employees.

         12.      Under the Relationship Agreement ("RA") executed by the pai·ties, Altiia agreed

not to sell or ti·ansfer any of its JUUL shai·es for six yeai·s after the SPA. In addition, Altiia agreed



2
 The Altria Defendants are Defendants William F . Gifford , Jr., Howard A. Willard ill, John T . Casteen ill, Dinyar S.
Devitre, Thomas F. Farrell II, Debra J. Kelly-Ennis, W . Leo Kiely ill, Kathryn B. Mcquade, George Muiioz, Mark E.
 ewman, abil Y. Sakkab, Virginia E. Shanks, Ellen R Strahlman, and Kevin C. Crosthwaite, Jr.



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in the RA not to compete with JUUL in thee-vapor business.

       13.      TI1e paities also executed a Service Agreement (" SA"), under which Altria would

provide mai·keting services for JUUL such as obtaining access for JUUL products in the

Company 's retail shelf space (in retail outlets such as gas stations) and directly communicating

with smokers tlu·ough cigarette pack inse1ts and mailings to smokers in Altria 's customer

databases. Altria also pledged to provide logistical and distribution support for JUUL products.

       14.      Altria and JUUL also entered into an Intellectual Prope1ty License Agreement,

licensing Altria's e-cigai·ette intellectual prope1ty to JUUL, as well as a Voting Agreement,

providing Altria witl1 tl1e right to appoint tlu·ee voting members to JUUL' s boai·d of directors

following antitrust approval of Altria' s investment.

       15.      As detailed herein, tl1ese agreements witl1 JUUL have been economically disastrous

for Altria. The Company has since written off the value of its JUUL investment three times in

less than two years, and its $12.8 billion investment is now estimated by Altria to be worth $1.6

billion, a decrease of al11wst 90% from the value Altria gave to JUUL at the time of the

investment. Similai·ly, media repo1ts have stated that JUUL cut its valuation to 10 billion, a drop

of 28 billion    more tl1an 70%     from Altria's estimated valuation of JUUL of 38 billion in

December 2018. TI1e price of Altria's common stock has declined by approximately 20% since

the JUUL investment.

       16.      Additionally, from the date Altria announced it acquisition of JUUL stock on

December 20, 2018, tlu·ough tl1e present (tl1e "Relevant Period"), tl1e Altria Defendants made and

allowed otl1ers to make materially false and misleading statements and omissions to investors and

stockholders in connection witl1 tl1e Company' s investment in JUUL .

       17.      TI1e misconduct smrnunding Altria 's investment in JUUL has created massive




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litigation risks and expenses for Altria, in addition to Altria's more than 10 billion writedown of

the investment. TI1ere are presently approximately 1,145 separate lawsuits related toe-cigarettes

pending against the Company, as well as the Securities Action, which alleges the Company and

ce1tain of its executives made false and misleading statements and omissions under the Exchange

Act. Many of the product liability and marketing sales practice actions against JUUL have been

consolidated into a multi-district litigation. In re Juul Labs, In c. Mktg. , Sales Practices, and Prods.

Liab. Litig., No. 19-md-2913-WHO (N.D. Cal.). In addition, the U.S. Federal Trade Commission

("FTC") has filed an administrative complaint against Altria and JUUL (In re Altria Grp. , In c., et

al. , Docket No. 9393) alleging the SPA and its accompanying agreements violated Section 1 of the

She1man Act, 15 U.S.C. § 1, Section 5 of the FTC Act, as amended, 15 U.S.C. § 45 , and Section

7 of the Clayton Act, as amended, 15 U.S.C. § 18. TI1e complaint alleged that "Altria's investment

in JlUULJ and its nearly simultaneous decision to exit the relevant market in order to meet

JlUULJ 's demands not only eliminated its existing e-cigarette products from the market but also,

through the Non-Compete lin the Relationship AgreementJ, halted its ongoing innovation effo1ts

toward developing a new and improved portfolio of products. " There are also numerous p1ivate

antitlust and other class actions pending against the Company. See, e.g., In re JUUL Labs, Inc.

Antitrust Litig., No. 20-cv-02345-WHO (N.D. Cal.).

        18.     Altria's annual repo1t for 2019, on Fo1m 10-K, filed with the U.S. Secmities and

Exchange Commission ("SEC") on Febrnaiy 25 , 2020, disclosed that "the SEC has commenced

an investigation relating to Altiia's disclosures and conti·ols in connection with the JUUL

investment."

        19.     Altria's investment in JUUL would not have occUITed but for breaches of the

fiduciary duties ofloyalty, good faith, candor, and due care by the Altria Defendants. Specifically,




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they knew, consciously disregarded, or was reckless in not knowing that:

        (a)    JUUL's marketing was directed towards adolescents and young adults;

        (b)    JUUL's products were hannful and not a tobacco cessation product;

        (c)     JUUL's youth marketing scheme subjected Altria, and Altria's investment in
        JUUL, to material risks and expenses, including reputational, litigation and regulato1y
        actions and fines ;

        (d)    the value of JUUL was significantly overstated and severe regulat01y and litigation
        1isks would negatively impact botl1 tl1e value of JUUL and tl1e Company;

        (e)    the 1isks associated witl1 JUUL's products and marketing practices, and tl1e tme
        value of JUUL and its products were known to tl1e Altria Defendants but were not
        communicated to Altria investors;

        (f)      all of tl1e foregoing, as well as mounting public scmtiny, negative publicity, and
        governmental pressure on e-vapor products and JUUL in paiticular made it reasonably
        likely tl1at Altria's investment in JUUL would negatively affect Altria's reputation and
        operations;

        (g)    Altria's agreements witl1 JUUL violated antitrust laws; and

        (h)      the mate1ialization of tl1ese 1isks would likely require Altr·ia to write-down a
        mate1ial portion of its investment in JUUL and expose the Company to massive additional
        liability.

        20.    JUUL and its directors and officers nained herein as defendants (tl1e "JUUL

Defendants")3 knowingly paiticipated in tl1e Boai·d 's breaches of its fiduciai·y duties and aided and

abetted tl1ose breaches.

        21.    For these reasons, on December 10, 2020, Plaintiff made a demand (the "Demand")

on the Company and tl1e Boai·d pursuant to Va. Code Ann.§ 13.1-672.l(B)(l) to investigate and

commence legal proceedings against tl1e individuals responsible for tl1e wrongdoing above. (A

copy of tl1e Demand is attached hereto as Exhibit A and is incorporated by reference).

        22.    On Mai·ch 4, 2021 , tl1e Boai·d responded to Plaintiffs Demand, stating in full :



3
 The JUUL Defendants are Defendants Adam Bowen, Kev in Burns, James Monsees, Riaz Valan~     icholas J.
Pritzker, and Juul Labs , Inc.



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        TI1e Altria board has authorized this response to your client's December 4 and 10
        letters. The board is familiar with the history and current status of Altria's
        investment in JUUL and, as pait of its inquily regai·ding the matters raised in your
        letters, will continue to be actively engaged in monitoring and overseeing that
        investment. TI1e boai·d is also actively engaged in monitoring and overseeing the
        FTC, securities and other litigation referenced in your letters, as well as the ongoing
        government inquilies concerning JUUL and e-vapor products generally.
       TI1e Altria boai·d believes that it is in the best interests of Altria to defend itself in
       these proceedings, which ai·e at a ve1y preliminai·y stage. After there have been
       further developments, the board will make a timely and appropriate
       determination on the matters raised by your letters, and that dete1mination will
       promptly be communicated to you. In any event, we will update you once there is
       a decision on the motion to dismiss the secmities litigation.

(Emphasis added.) (A copy of the Board 's March 4 2021 response to the Demand is attached hereto as

Exhibit B and is incorporated by reference.)

        23.     TI1e Boai·d's Mai·ch 4, 2021 letter constitutes a refusal to Plaintiff's Demand. The

letter makes clear that the Board will not consider or respond to Plaintiff's Demand at this time

or at any ascertainable time in the future. Specifically, the Boai·d will not consider or make a

dete1mination on the Demand until " laJfter there have been fu1ther developments" in the other

unspecified litigations. Not only is the Boai·d's response a blatant refusal of Plaintiff's lawful

Demand, it is also yet another concerning indication that the Boai·d fails to uphold its obligations

to the Company and its shai·eholders.

                                   JURISDICTION AND VENUE

        24.     111is Comt has subject matter jurisdiction over tllis action pursuant to 28 U.S.C. §

1331 because Plaintiff's claims raise a federal question under Section lO(b) and Rule lOb-5 of the

Exchange Act. Also, tllis Court has subject matter jmisdiction under diversity of citizensllip and

amount in controversy under 28 U.S. Code§ 1332.

        25.     111is Court has supplementaljmisdiction over Plaintiff's state law claims pursuant

to 28 U.S.C. § 1367(a).




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           26.   Tilis derivative action is not a collusive action to confer jurisdiction on a comt of

the United States that it would not otherwise have.

           27.   Indeed, alternatively, jurisdiction is confe1Ted by 28 U.S.C. §1332. Complete

diversity among the paities exists and the amount in controversy exceeds 75,000, exclusive of

interests and costs.

           28.   Tilis Comt has jmisdiction over each defendant named herein because each

defendant is either a corporation that conducts business in and maintains operations in tllis District,

or is an individual who has sufficient minimum contacts with tllis District to render tl1e exercise of

jurisdiction by tl1e District comts pe1missible under traditional notions of fair play and substantial

justice.

           29.   Altria is incorporated and headquai·tered in tl1e Commonwealtl1 of Virginia.

           30.   Venue is proper in tl1is Comt in accordance witl128 U.S.C. §1391 because: (i) one or

more of tl1e defendants eitl1er resides in or maintains executive offices in tl1is District; (ii) a

substantial portion of the transactions and wrongs complained of herein, including tl1e defendants'

p1imaiy paiticipation in tl1e wrongful acts detailed herein, and aiding and abetting and conspiracy

in violation of fiduciaiy duties owed to Altria, occmTed in tllis District; and (iii) defendants have

received substantial compensation in tllis District by doing business here and engaging in numerous

activities tl1at had an effect in tllis District.

                                                    PARTIES

Plaintiff

           31.   Plaintiff was a shai·eholder of Altria at tl1e time of tl1e misconduct complained of

herein and has been a shareholder of Altria continuously since tl1at time. Plaintiff is a citizen of

the State of South Cai·olina.




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Nominal Defendant

       32.    Nominal defendant Altria is a Virginia corporation with its principal executive

offices located at 6601 West Broad Street, Richmond, Virginia 23230.

Defendants

       33.    Defendant William F. Gifford, Jr. ("Gifford") has served as Chief Executive Officer

("CEO") and a director of the Company since April 2020. Gifford served as Vice Chairman and

Chief Financial Officer ("CFO") of the Company from May 2018 until April 2020. Gifford is a

member of the Executive Committee. In 2019, Gifford received 9,373,759 in total compensation

from the Company. Gifford is a citizen of Virginia.

       34.    Defendant Howard A. Willard III ("Willard") served as CEO of the Company and

Chai.Iman of the Board from May 2018 until April 2020. Willard also served as Executive Vice

President and Chief Operating Officer of the Company from March 2015 until May 2018 and as

Executive Vice President and CFO from January 2011 until Febrnaiy 2015. In 2019, Willai·d

received 15,417,616 in total compensation from the Company. Willai·d is a citizen ofViI·ginia.

       35.    Defendant John T. Casteen III ("Casteen") has served as a diI·ector of the Company

since 2010. Casteen is a member of the Audit, Compensation and Talent Development, and

Innovation Committees. In 2019, Casteen received       317,260 in total compensation from the

Company. Casteen is a citizen ofViI·ginia.

       36.    Defendant Dinyai· S. Devit:re ("Devit:re") has served as a diI·ector of the Company

since 2008. Divitre served as Senior Vice President and CFO of Altria from 2002 until 2008.

Divitre is Chai.I· of the Finance Committee and a member of the Executive, Innovation, and

Nominating, Corporate Governance, and Social Responsibility Committees. In 2019, Devit:re

received 344,805 in total compensation from the Company. Devitre is a citizen of New York.




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       37.    Defendant Thomas F. FaiTell II ("FaiTell") has served as a director of the Company

since 2008 and has served as Chaitman of the Boai·d since April 2020. FaiTell is Chait· of the

Executive Committee and a member of the Compensation and Talent Development and

Nominating, Corporate Governance, and Social Responsibility Committees. In 2019, FaiTell

received 320,010 in total compensation from the Company. Fa1Tell is a citizen ofVit·ginia.

       38.    Defendant Debra J. Kelly-Ennis ("Kelly-Ennis") has served as a dit·ector of the

Company since 2013.     Kelly-Ennis is a member of the Audit, Innovation, and Nominating,

Corporate Governance, and Social Responsibility Committees. In 2019, Kelly-Ennis received

 314,260 in total compensation from the Company. Kelly-Ennis is a citizen of Canada.

       39.    Defendant W. Leo Kiely III ("Kiely") has served as a dil·ector of the Company since

2011. Kiely is Chait· of the Compensation and Talent Development Committee and a member of

the Executive, Finance, and Innovation Committees. In 2019, Kiely received 355,010 in total

compensation from the Company. Kiely is a citizen of Illinois.

       40.    Defendant Katlu·yn B. McQuade ("McQuade") has served as a dit·ector of the

Company since 2012. McQuade is Chait· of tl1e Nominating, Corporate Governance, and Social

Responsibility Committee and a member of the Audit, Compensation and Talent Development,

and Executive Committees. In 2019, McQuade received 345,010 in total compensation from the

Company. McQuade is a citizen of Nevada.

       41.    Defendant George Mufi.oz ("Mufi.oz") has served as a dil·ector oftl1e Company since

2004. Mufi.oz is Chait· of tl1e Audit Committee and a member of tl1e Executive, Finance and

Nominating, Corporate Governance, and Social Responsibility Committees. In 2019, Mufi.oz

received 355,010 in total compensation from the Company. Mufi.oz is a citizen of Illinois.

       42.    Defendant Mai·k E. Newman (''Newman") has served as a dil·ector oftl1e Company




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since 2018. Newman is a member of the Audit, Finance, and Innovation Committees. In 2019,

Newman received . 330,010 in total compensation from the Company. Newman is a citizen of

Delaware.

          43.     Defendant Nabil Y. Sakkab (" Sakkab") has served as a director of the Company

since 2008. Sakkab is Chair of the Innovation Committee and a member of the Executive, Finance,

and Nominating, Corporate Governance, and Social Responsibility Committees. In 2019, Sakkab

received 315,010 in total compensation from the Company. Sakkab is a citizen of Nevada.

          44.     Defendant Virginia E. Shanks ("Shanks") has served as a director of the Company

since 2017. Shanks is a member of the Audit, Compensation and Talent Development, and

Innovation Committees. In 2019, Shanks received . 319,980 in total compensation from the

Company. Shanks is a citizen of Nevada.

          45.     Defendant Ellen R. Strahlman ("Strahlman") has served as a director of the

Company since November 2020. St:rahlman is a citizen of Florida.

          46.     Defendant Kevin C. Crosthwaite, Jr. ("Crosthwaite") served as Senior Vice

President, Chief Strategy and Growth Officer, of the Company from June 2018 until September

2019, when he became the CEO of JUUL. In 2019, Crosthwaite received 7,695 ,367 in total

compensation from the Company. Crosthwaite is a citizen of Virginia.

          47.     Defendant JUUL is a Delaware corporation with its principal executive offices

located at 560 20th Street, San Francisco, California 94107.

          48.     Defendant Adam Bowen ("Bowen") co-founded JUUL with Defendant Ames

Monsees ("Monsees") and is JUUL's Chief Technology Officer. "Following the writedown lof

Alt:ria's investmentJ, Forbes no longer considers the cofounders to be billionaires."4 Bowen is a



4
    Forbes, Profile - Adam Bowen, available at https://www.forbes.com/profile/adam-bowen/?sh=5d5a94723dd (last


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citizen of California.

        49.     Defendant Kevin Bums ("Bums") served as CEO of JUUL from December 2017

until September 2019 and a director from July 2018 until September 2019. Bums is a citizen of

California.

        50.     Defendant Monsees co-founded JUUL with Bowen and is JUUL's Chief Product

Officer. "Following the writedown lof Altria's investmentJ, Forbes no longer considers the

cofounders to be billionaires." 5 Monsees is a citizen of California.

        51.     Defendant Riaz Valani ("Valani") has served as a director of JUUL since May

2011. Valani is a citizen of California.

        52.     Defendant Nicholas J. Pritzker ("Pritzker") has served as a director of JUUL since

2015. Pritzker is a citizen of California.

        53.     TI1e defendants identified     ill        30-43 are refe1Ted to herein as the "Altria

Defendants. "

        54.     TI1e defendants identified     ill        44-49 are refe1Ted to herein as the "JUUL

Defendants. "

                            DEFENDANTS' FIDUCIARY DUTIES

        55.     Under Virginia law, corporate officers, including directors, have the same duties of

fidelity in dealing with the corporation that arise in dealings between a trustee and a beneficiary of

the trust. For example, they must refrain from self-dealing or fraud or acting in bad faith.

        56.     By reason of their positions as officers, directors, and/or fiduciaries of Altria and

because of their ability to control the business and corporate affairs of the Company, at all relevant


accessed March 11, 2021).
5
  Forbes, Profile Ames Monsees, available at https://www.forbes.com/profile/ james-monsees/?sh=5eedfb07526b
(last accessed March 11, 2021).



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times, the Altria Defendants owed Altria and its shareholders fiduciaiy obligations of good faith,

loyalty, and candor, and were required to use their utmost ability to control and manage the

Company in a fair, just, honest, and equitable manner. TI1e Altria Defendants were required to act

in furtherance of the best interests of Altria and its shareholders so as to benefit all shareholders

equally and not in furtherance of their personal interest or benefit. Each director and officer of the

Company owes to Altria and its shai·eholders a fiduciaiy duty to exercise good faith and diligence

in the administration of the affairs of the Company and in the use and preservation of its prope1ty

and assets, and the highest obligations of fair dealing.

       57.     TI1e Altria Defendants, because of their positions of control and authority as

directors and/or officers of Altria, were able to and did, directly and/or indirectly, exercise control

over the wrongful acts complained of herein. Because of their advisory, executive, managerial,

and directorial positions with Altria, each of the Altria Defendants had knowledge of material non-

public info1mation regai·ding the Company. To dischai·ge their duties, tl1e officers and directors of

Altria were required to exercise reasonable and prndent supervision over the management, policies,

practices and controls of the Company. By viltue of such duties, the officers and dil·ectors of Altria

were requil·ed to, among other things:

       (a)     Exercise good faitl1 to ensure tl1at tl1e affail·s of the Company were conducted in an
       efficient, business-like manner so as to make it possible to provide tl1e highest quality
       performance of tl1eil· business;
       (b)     Exercise good faith to ensure that the Company was operated in a diligent, honest,
       and prndent manner and complied with all applicable district and state laws, rnles,
       regulations and requil·ements, and all contractual obligations, including acting only within
       the scope of its legal authority;
       (c)    Exercise good faith to ensure that tl1e Company's communications witl1 tl1e public
       and with shai·eholders ai·e made with due candor in a timely and complete fashion ; and
       (d)    When put on notice of problems with the Company's business practices and
       operations, exercise good faitl1 in taking appropriate action to c01Tect the misconduct and
       prevent its recmTence.




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          58.   TI1e Altria Defendants, because of their positions of control and authority, were able

to and did, directly or indirectly, exercise control over tl1e wrongful acts complained of herein, as

well as tl1e contents of tl1e various public statements issued by Altria.

          59.   Each of tl1e Altria Defendants breached his or her fiduciaiy duties as alleged herein,

both individually and in conceit witl1 tl1e otl1er Altria Defendants and tl1e JUUL Defendants.

           CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION

          60.   In committing tl1e wrongful acts alleged herein, tl1eAltria Defendants have pursued,

or joined in tl1e pursuit of, a common course of conduct, and have acted in conceit witl1 and

conspired witl1 one anotl1er in furtl1erance of tl1eir wrongdoing. TI1e Altria Defendants caused tl1e

Company to conceal tl1e trne facts as alleged herein. TI1e Altria Defendants fUither aided and

abetted and/or assisted each otl1er in breaching tl1eir respective duties.

          61.   TI1e purpose and effect of tl1e conspiracy, common enterpiise, and/or common

course of conduct was, among otl1er tl1ings, to facilitate and disguise the Altiia Defendants '

violations of law, including breaches of fiduciai·y duty, unjust eruichment, and waste of corporate

assets.

          62.   TI1e Altiia Defendants accomplished their conspiracy, common enterpiise, and/or

common course of conduct by causing tl1e Company to purposefully, recklessly, or negligently

conceal mateiial facts, fail to c01Tect such misrepresentations, and violate applicable laws. In

furtl1erance of tl1is plan, conspiracy, and course of conduct, tl1e Altiia Defendants collectively and

individually took tl1e actions set fortl1 herein. Because tl1e actions desciibed herein occmTed under

the autl1oiity of tl1e Boai·d, each of tl1e Altiia Defendants, who ai·e directors of Altiia, was a direct,

necessaiy, and substantial paiticipant in the conspiracy, common enterpiise, and/or common

course of conduct complained of herein.




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       63.     Each of the Altria Defendants and the JUUL Defendants aided and abetted and

rendered substantial assistance in the wrongs complained of herein. In taking such actions to

substantially assist the commission of the wrongdoing complained of herein, each Defendant acted

with actual or constructive knowledge of the primaiy wrongdoing, either took direct pait in, or

substantially assisted the accomplishment of that wrongdoing, and was or should have been awai·e

of his or her overall contribution to and furtherance of the wrongdoing.

       64.     At all times relevant hereto, each of the Altr·ia Defendants was the agent of each of

the other Altria Defendants and of Altria and was at all times acting within the course and scope

of such agency.

                                ALTRIA'S CODES OF CONDUCT

       65.     TI1e first substantive item in the Company's Code of Conduct is a letter from the

CEO, defendant Gifford, which states:

       111is is a dynamic time for Altria and its companies. As the leader in an evolving
       industry, we have the duty and the opp01tunity to shape a better future for our adult
       consumers, employees and shai·eholders. Our future success requires that we
       continue to run our businesses responsibly and in compliance with all applicable
       laws, always holding ourselves to high standai·ds of integ1ity. All of us must focus
       on compliance and integ1ity in our daily work. Our Code is a framework for
       operating with integiity, providing guidance for how we work and how we behave.
       It directs us to ask before acting:
               • Is it legal?
               • Does it follow company policy?
               • Is it the 1ight thing to do?
               • How would it look to those inside and outside the company?
       Our policies and related documents complement the Code with details of how we
       should execute our work. Each ofus is responsible for understanding how all these
       elements relate to our roles at Altria .
       . . .Big problems can be prevented .. . if someone raises their hand and identifies the
       issue eai·ly, so it can be addressed. I suppo1t you in that. Speak up. Looking the
       other way or tllinking that it's "not my problem" is a violation of our Code, our
       policies, and it puts our companies at risk.



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           66.   In answering the question, "Why Do We Have a Code?" the Code of Conduct states:

"Our Code introduces us to many important laws, policies and procedures we must followl;J It

shows us how to spot potential issues in our workl ; and J It identifies resources when we need more

info1mation, want advice or wish to rep01t concerns."

           67.   In answering the question, "Who Must Follow Our Code?" the Code of Conduct

states: "Our Code applies to all employees, including senior management and officers, who work

for Altria' s companies." The Code of Conduct, by its own te1ms, therefore applies to the Altria

Defendants as directors and officers.

           68.   The Code of Conduct identifies a "Duty to Speak Up" when, for instance,

"misconduct has taken place or is about to take place."

           69.   In answering the question, "What Happens When a Compliance Violation Occurs?"

the Code of Conduct states: "Those who fail to follow our Code, policies or procedures are subject

to disciplinary action. At a minimum, this means counseling, but it could include termination of

employment. Certain compliance violations may also subject the offenders to civil or criminal

prosecution."

           70.   With regard to fiscal compliance, asset management and cash management

principles, the Code of Conduct states that employees must "Conduct business consistent with

fiscal controls, company policies and applicable laws" and     "lP Jrotect and safeguard company
assets."

           71.   On a page titled "Business Paitner Due Diligence," tl1e Code of Conduct states:

" lwJe want to do business witl1 firms or individuals tl1at conduct business witl1 integrity and in

compliance witl1 all applicable laws. Consult company policies for standai·ds on selecting and

approving customers and other business pai·tners. At a minimum, you should : laJssess and, where




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appropriate, confirm that the parties you're working with maintain a genuine business presence

and are engaged in legitimate trade land J lcJommunicate your company's compliance expectations

and be ale1t to your business paitners' practices."

       72.       On a page titled "Accurate Books and Records, and Financial Disclosure," tl1e Code

of Conduct states: "Altria and its companies ai·e committed to providing complete, accurate and

timely info1mation, in all material respects, about tl1eir fmancial condition and business results."

TI1e Code of Code fi.nther states tl1at, "[s]enior financial officers and other managers responsible

for accurate books, records, accounting and disclosure offinancial information have a special

duty to meet these standards, including establishing internal controls in tl1eir ai·eas of

responsibility to prevent and detect unautl1orized, unrecorded or inaccurately recorded

transactions." (Emphasis added.)

       73.       On tl1e subject of insider trading, tl1e Code of Conduct states:

       Many of us may have inside information simply by viltue of our position. Securities
       laws make it illegal for tl10se witl1 material inside info1mation about a company to
       buy or sell its securities (stocks, bonds, options, etc.). Never trade based on material
       inside info1mation about our companies or any customer, supplier or otl1er
       company.
       Material inside info1mation refers to non-public inf01mation tl1at a reasonable
       investor would likely consider important in deciding whetl1er to buy or sell a
       security. Chances ai·e, if sometlling leads you to want to buy or sell stock, tl1e
       info1mation may be material. Inf01mation about plans to do or not do something
       also may be material inside info1mation.
       Material inside info1mation might include:

             •   Financial info1mation, including eai·nmgs, forecasts, dividends and
                 fmancing

             •   Significant business developments, including volume and shai·e, significant
                 product or contract information, and acquisitions or joint ventures

             •   Major developments in litigation or government actions

             •   Non-public info1mation about anotl1er company, customer or supplier
       If you have inside info1mation, you may not trade until the info1mation is made


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       public tlu·ough established channels and enough time has passed for tl1e info1mation
       to be absorbed by tl1e public. Ce1tain employees who have regular access to inside
       info1mation generally must limit tl1eir trading of company securities to specified
       "window periods." However, even trading in tl1ese window periods is prohibited if
       you possess material inside info1mation.

        74.       In tl1e context of antitrust compliance, tl1e Code of Conduct states: " lo Jur companies

must comply witl1 tl1e laws tl1at promote competition and protect trade secrets. We must avoid

business activities or conduct tl1at would unlawfully restrict competition. We must not misuse

otl1ers' tr·ade secrets or prop1ietaiy information."

        75.       In relaying its "communications principle," tl1e Code of Conduct states: " loJur

companies ai·e committed to communicating cleai·, accurate, timely, approp1iate and substantiated

info1mation about our businesses." TI1e Code of Conduct fu1ther states:

        Our communications witl1 stakeholders about our business should be cleai· and
        honest. To tl1at end, our communications should only contain info1mation tl1at is
        approved for external use. Be cai·eful not to discuss topics in a way tl1at is
        inconsistent witl1 our companies' positions and actions.
        It is impo1tant tl1at we provide reliable information about our operations, positions,
       policies, practices, performance and outlook. Only Designated Spokespersons may
       communicate on behalf of our companies witl1 tl1e investment community or tl1e
       media witl10ut p1ior approval. TI1is includes online communications and social
       media. TI1e messages and means of communicating externally must be approved in
       advance.

        76.       In discussing tl1e Company's "product communication principle," tl1e Code of

Conduct states:

       Our companies will responsibly provide information tl1at helps tl1e intended
       audience in making informed decisions regai·ding the purchase and use of tl1eir
       products, in compliance witl1 all applicable laws.
        Our companies ai·e committed to responsibly mai·keting our products to adult
        consumers. To suppo1t tl1is goal, you must:

              •   Ensure tl1at mai·keting mate1ials and programs comply witl1 all legal
                  requirements, our Code, policies, practices and commitments

              •   Hold adve1tising agencies and product development and mai·keting
                  consultants to tl1ese standai·ds



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             •   Never make misrepresentations about our companies' products, including
                 the health effects of those products

             •   Substantiate all claims about our companies' products before you make any
                 claims

             •   Never market our companies' products to underage persons
(Emphasis added.)
       77.       In discussing the Company's "product regulat01y and quality principal," the Code

of Conduct states: " lo Jur companies are committed to providing superior branded products that

meet applicable legal and regulato1y requirements and consumer expectations. We a.re committed

to meeting all applicable legal, regulat01y and product quality requirements. We must all notify

appropriate responsible employee(s) about any potential legal, regulatory or quality issues." TI1e

Code of Conduct states further that: " leJve1y day, our companies' reputations for regulato1y

compliance and quality a.re in our hands. "

                                 SUBSTANTIVE ALLEGATIONS

       78.       Over the last century, Altria and the tobacco industry have made billions of dollars

through aggressive marketing campaigns in film, television, and print that failed to warn of the

haimful effects of nicotine and cigai·ettes. This mai·keting campaign created the false impression

that e-cigai·ettes were safe, yet left millions of Americans unwittingly addicted to nicotine, caused

hundreds of thousands of deaths and illnesses due to lung cancer, lung disease and cai·diovasculai·

issues, and led to immeasurable human suffering.

       79.       In 1998, 46 state attorneys general entered into the Tobacco Master Settlement

Agreement ("MSA"), 6 which prohibits Altria and the other major cigai·ette companies from

mai·keting and advertising their products to youth ("persons under 18 yeai·s of age") and sets fo1th




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specific prohibited acts, such as use of caitoon chai·acters and billboai·ds neai· school grounds. TI1e

implementation of the MSA's mai·keting restrictions in the late 1990s, combined with public health

and public policy effo1ts inspired or funded by the MSA, disclosure of documents relating to Big

Tobacco's wrongdoing, and subsequent litigation enforcing the MSA, contributed to dramatic

declines in tobacco use, including among youth.

           80.      TI1e MSA, which specifically includes smokeless tobacco products 7 like JUUL' s e-

cigai·ettes (and that was executed by Altria subsidiaiy Philip Manis USA), 8 permanently prohibits

Altria from tai·geting tobacco products to children:

           ill.     PREMANENT RELIEF

                    (a) Prohibition of Youth Tai·geting. No participating Manufacturer may
                        take any action, directly or indirectly, to target Youth within any
                        Settling State in the advertising, pro11wtion or marketing of Tobacco
                        Products, or take any action the p1imai·y purpose of which is to initiate,
                        maintain, or increase the incidence of Youth smoking within any
                        Settling State.

(Emphasis added.)

           81.      In addition to the general prohibition against targeting youth, the MSA enumerates

specific examples of the types of adve1tising and promotion that is prohibited. This includes, inter

alia, (i) a ban on the use of caitoons, (ii) limitations on brand name sponsorships (such as concerts,

ce1tain spo1ting events, and other events that where a significant percentage of attendees ai·e

youth) ; (iii) a prohibition on sponso1ing teams and leagues; (iv) the elimination of outdoor and

transit adve1tisements; (v) the removal of ce1tain media-based adve1tisements; and (vi) bans on

youth access to free samples and gifts to underage persons based on proofs or purchase.

           82.      In 2009, the FDA banned the sale of flavored cigai·ettes other than menthol


7
 Section "(vv)" of the MSA (p. 17) defines "Tobacco Products" as "Cigarettes and smokeless tobacco products."
(Emphasis added.)
8
    "Philip Morris Incorporated" is a signatory to the MSA and is a predecessor company to Philip Morris USA.


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anywhere in the United States, in any form. TI1e restriction did not apply to vaping devices,

because they did not exist at the time.

       83.      TI1e 2010 implementation of the Family Smoking Prevention and Tobacco Control

Act ("Tobacco Control Act") provides the FDA with authority over all products made or derived

from tobacco.

       84.      By June 2014, teen smoking hit record lows and the Centers for Disease Control

and Prevention ("CDC") reported that " in achieving a teen smoking rate of 15.7 percent, the United

States has met its national Healthy People 2020 objective of reducing adolescent cigarette use to

16 percent or less." TI1e U.S. Surgeon General repo1ted in 2014 that: "We are at a historic moment

in our fight to end the epidemic of tobacco use that continues to kill more of our citizens than any

other preventable cause. TI1e good news is that we know which strategies work best. By applying

these strategies more fully and more aggressively, we can move closer to our goal of making the

next generation tobacco-free. " But where the public health community saw progress in curbing

the use of cigarettes and nicotine addiction, JUUL saw an oppo1tunity.

       85.      JUUL is an American electronic cigarette company that began manufacturing and

selling the JUUL e-cigarette in 2015. The JUUL e-cigarette uses nicotine salts from leaf tobacco

in one-time use cartridges or "pods" that ar·e heated, resulting in the vapor inhaled by the user.

       86.      JUUL's products were originally designed for and have at all times been mar~keted

towar·ds minors and young adults. TI1e JUUL e-cigar·ette resembles a ha1mless flash-drive (making

it easy for children and young adults to conceal from par·ents and educators) and contains nicotine

cartridge flavors (e.g., mango, creme briilee, and mixed fiuit) that cigar·ette companies ar·e

prohibited from mar·keting precisely because the flavors appeal to minors.

       87.      It was obvious that JUUL's purpo1ted mission of "switching adult smokers" to




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JUUL devices was false and misleading. Instead, JUUL' s unspoken goal was to achieve growth

through repeated sales of an addictive and haimful product to minors as well as young adults.

        88.       JUUL 's attempt to chai·acterize its activities as merely "switching adult smokers"

is further belied by that company 's repeated compai·isons of its vaping pods to traditional tobacco

products. For example, prior to JUUL' s release in June 2015 PAX (JUUL's original name)

released information from a "commissioned study" that compai·ed JUUL 's blood nicotine levels

to traditional combustion cigai·ettes and other e-cigai·ettes, as set fo1th in the following chai·t from

JUUL 's website in 2015 :


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        89.       In other words, rather than undertake eff01ts to create and promote a smoking

cessation product to prevent nicotine addiction, JUUL was appai·ently more focused on tl1e

"nicotine concentration" of its products relative to cigai·ettes and "average e-cigai·ettes,"

presumably in an effort to gain a market advantage.

        90.       At tl1e same time, however, JUUL sought to distinguish its products from tl1e deatl1

and disease associated witl1 cigai·ettes by deliberately providing a false assurance of safety. For



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example, on May 8, 2018, a document titled "Letter from the CEO" appeared on JUUL's website.

TI1e document stated : " lJUULJ's simple and convenient system incorporates temperature

regulation to heat nicotine liquid and deliver smokers tl1e satisfaction that tl1ey want witl10ut the

combustion and tl1e harm associated witl1 it. " 9 JUUL even took tl1is message to ninth graders. As

cited in an FDA Warning Letter sent to JUUL on September 9, 2019, in 2018, a representative

from JUUL spoke at a high school during a presentation for ninth graders, stating that JUUL "was

much safer than cigarettes," that JUUL was "totally safe," that JUUL was a " safer alternative tl1an

smoking cigarettes," and that the "FDA was about to come out and say lJUULJ was 99% safer

than cigarettes ... and that. .. would happen very soon." 10

           91.   Cigarette companies have known for decades tl1at flavored products are key to

getting young people to begin using nicotine and become addicted. Accordingly, in June 2015,

JUUL began marketing its e-cigarettes in four flavors including tabaac (later renamed "tobacco"),

fiuut (later renamed "fiuit medley''), bruule (later renamed "creme bmlee"), and miint (later

renamed "mint"). As described above, the FDA banned flavored cigarettes ( other than menthol)

in 2009 as its first major anti-tobacco action pursuant to its authority under the Family Smoking

Prevention and Tobacco Control Act of 2009.

           92.   JUUL's aggressive and illegal marketing strategy worked, with JUUL becoming

the biggest manufacturer and distributor of electronic vapor and electronic cigarettes products in

the United States. According to tl1e FTC's complaint, by 2018, JUUL controlled approximately

70% of the e-cigarette market.

           93.   TI1e nature and extent of JUUL's youth adve1tising and promotional effo1ts -


9
 FDA Warning Letter to JUUL Labs, (S eptember 9, 2019), available at https://www.fda .gov/inspections-compliance-
enforcement-and-criminalinvestigations ;varning-letters/juul-labs-inc-590950-09092019.
10   Id.



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paiticularly with respect to online and outdoor adve1tising 11 - were extensively described in a study

by Stanford University School of Medicine ("Stanford") published in J anuai·y 2019 (the "Stanford

Study"). 12 TI1e Stanford Study attempted to catalogue, from June 2015 to November 2018, JUUL's

youth adve1tising and promotional effo1ts. By way of example, Stanford identified 2,691 Twitter,

248 Facebook, 187 Instagram post, and 171 directed mai·keting. Stanford at 1. Additionally,

during this time JUUL's Instagram account had 77,600 postings and #juul (on Twitter) had

260,866 postings. Id. TI1e Stanford Study noted:

           JUUL's vaporized launch campaign featured models in their 20s appeai·ing in
           trendy clothes engaged in poses and movements more evocative of underage teens
           than mature adults. Subsequently, JUUL's principal adve1tising themes have been
           closely aligned with that of traditional tobacco advertising (pleasure/relaxation,
           socialization/romance, flavors, cost savings/discounts, holidays/seasons,
           style/identity, and satisfaction). Advertising prominently featured sweet and fiuity
           flavors, especially mango. TI1e company employed social media influencers as
           brand ambassadors. TI1ey also sought individuals who were populai· on tl1e internet,
           emolled tl1em in JUUL's affiliate program, and compensated tl1em for posting
           positive reviews while insisting tl1ey not reveal tl1is relationship.

Id.

           94.     TI1e study concluded tl1at "JUUL's adve1tising imagery in its first 6 montlis on tl1e

mai·ket was patently youtl1 oriented. For tl1e next 2.5 yeai·s it was more muted, but tl1e company's

adve1tising was widely distributed on social media channels frequented by youtl1, was amplified

by hash tag extensions, and catalyzed by compensated influencers and affiliates." Id. By any

measure, if Stanford reseai·chers managed to locate tl1ese publicly available examples of JUUL's

targeting of youtl1 witl1 its advertising during the yeai·s 2015 to 2018, Altria's boai·d could have

readily done tl1e same.



11
     In 2015 JUUL had video advertisements in   ew York City's Times Square. Stanford at 18.
12
   Jackler, Robert K. and Cindy Chau. "nJUL Advertising Over its First Three Years on the Market " Stanford
University School of Medicine, Jan. 31 , 2019 . Cited herein as "Stanford at  " The Stanford study is fully
incorporated by reference.



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       95.     Against this backdrop, prior to the Company's investment in nJUL, the Altria

Defendants knew, consciously disregarded, or were reckless in not knowing that:

       (a)     nJUL's marketing was directed towards adolescents and young adults in violation
       of the MSA;

       (b)     nJUL's products were haimful and not a tobacco cessation product- indeed, quite
       the opposite tlu·oughout its hist01y nJUL often compared its smokeless pod products to
       traditional tobacco products;

       (c)     nJUL's youtl1 mai·keting scheme subjected Altria, and Altria's investment in
       nJUL, to material risks and expenses, including reputational, litigation and regulato1y
       actions and fmes ;

       (d)    TI1e value of nJUL was significantly overstated and severe regulatory and litigation
       1isks would negatively impact botl1 tl1e value of nJUL and tl1e Company;

       (e)    TI1e 1isks associated witl1 nJUL's products and mai·keting practices, and tl1e trne
       value of nJUL and its products were known to tl1e Altria Defendants but were not
       communicated to Altria investors;

       (f)      all of tl1e foregoing, as well as mounting public scrntiny, negative publicity, and
       governmental pressure on e-vapor products and nJUL in paiticular made it reasonably
       likely tl1at Altria's investment in nJUL would negatively affect Altria's reputation and
       operations;

       (g)     Altria's agreements witl1 nJUL violated antitrust laws; and

       (h)      the mate1ialization of tl1ese 1isks would likely require Altr·ia to write-down a
       mate1ial portion of its investment in nJUL and expose the Company to massive additional
       liability.

       96.     Indeed, had tl1e Altria Defendants reviewed nJUL advertising and mai·keting

practices, even in a cursory mfillller, tl1ey would have known tl1at nJUL was tai·geting youtl1S.

       97.     Fmther, sufficient due diligence also would have revealed to tl1e Altr·ia Defendants

that nJUL's mai·ket shai·e was lai·gely comp1ised of youtl1s, not adults.

       98.     Additionally, repo1ts of nJUL 's successful mai·keting to minors emerged and were

public knowledge long before Altria signed and closed its investment in nJUL. For instance:

       (i)    On December 4, 2017, National P ublic Radio detailed nJUL's widespread
       popula1ity among teens and young adults, titled "Teenagers Embrace nJUL, Saying It's
       Discreet Enough to Vape in Class." TI1e ai·ticle quotes an eighteen-yeai·-old student who


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           stated that as much as 60% of her friends have a JUUL. The a1ticle also links the spike in
           youth use to JUUL 's design and flavors, stating: "The JUUL device, with its sleek design
           that resembles a flash drive is a special hit with teens .. . . The JUUL also has multiple
           flavors available mint, tobacco, mango, creme brnlee and frnit." Fmther, in November
           2018, the CDC repo1ted that cmTent e-cigarette use among American high school students
           reached 20.8%, representing a 78 % increase from the prior year.
           (ii)   On May 7, 2018, the New Yorker published an article titled "The Promise of
           Vaping and tl1e Rise of Juul," which stated, among otl1er tilings, tl1at "Teens have taken a
           technology tl1at was supposed to help grownups stop smoking and invented a new kind of
           bad habit, molded in tl1eir own image." 13
           (iii)     On October 2, 2018, tl1e CDC published a press release titled "Sales of JUUL e-
           cigarettes skyrocket, posing danger to youtl1" tl1at stated, " ls Jales of JUUL, an e-cigarette
           shaped like a USB flash drive, grew more tl1an seven-fold from 2016 to 2017 .. . landJ luJse
           of JUUL by youtl1 in schools, including in classrooms and batl1roorns, has been widely
           repo1ted." The press release quoted Robe1t Redfield, M.D., director of CDC, as saying
           " lt Jhe popularity of JUUL among kids tlu·eatens our progress in reducing youtl1 e-cigarette
           use,' land J ' lw Je a.re ala1med that tl1ese new high nicotine content e-cigarettes, marketed
           and sold in kid-friendly flavors, are so appealing to our nation' s young people." 14
           (iv)     A Trntl1 Initiative study published on October 18, 2018 in Tobacco Control (an
           international peer-reviewed research journal) found tl1at " 15- to 17-year-olds have over 16
           times greater odds to be CU1Tent JUUL users compared to tl1ose aged 25-34." The study
           noted tl1at " ltJhese high rates a.re consistent witl1 a recent announcement from tl1e Food and
           Drng Administration Commissioner Scott Gottlieb, who declared tl1at e-cigarette use
           reached ' notlling sh01t of an epidemic proportion of growtl1,' and cited new, unpublished
           federal data tl1at anticipate a 77 percent increase in e-cigarette use among high school
           students as compared to 2017. " 15
           (v)     On November 16, 2018, Forbes published an article citing Dr. Robe1t Jackler, tl1e
           cofounder of a group called Stanford Research Into tl1e Impact of Tobacco Advertising, a
           Stanford University-affiliated program, who stated JUUL' s "marketing clearly appealed to
           youtl1, most ove1tly from mid-2015 to 2016, tl1e year following Juul's launch. His archived
           Juul ads a.re filled witl1 attractive young models socializing and flirtatiously sharing tl1e
           flash-drive shaped device, displaying behavior like dancing to club-like music and clotl1ing
           styles more characteristic of teens tl1an mature adults." 16



13
     Jia Tolentino, The Promise of Vapingand the Rise ofJu ul, The   ew Yorker (May 7, 2018).
14
    CDC, Sales of JUUL e-cigarettes skyrocket, posing danger to youth (Oct. 2, 2018) available at
https://W\vw.cdc.gov/media/releases/2018/p 1002-e-Cigarettes-sales-danger-youth.html.
15
  Truth Initiative, ew Study Reveals Teens 16 Times More Likely to Use JUUL than Older Age Groups (Oct. 18,
2018) ava ilable at https ://truthinitiative.org/sites/default/ files /media/files/2019/03/Study-Reveals-Teens-16-Times-
More-Likely-to-Use-JUUL-than-Older-Age-Groups.pdf.
16
  Kathleen Chaykowski, The Disturbing Focus Of Juul ' s Early Marketing Campaigns, Forbes         ov. 16, 2018),
available   at  https://www.forbes.com/sites/kathleenchaykowski/2018/ 11/ 16/the-disturbing-focus-of-juuls-early-
marketing-campaigns/?sh=339abc6814f9.



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       99.     Altria and the Altria Defendants also had longstanding institutional knowledge of

and indeed previously pa1ticipated in these predato1y marketing techniques through Altria's own

marketing of e-cigarettes. The Altria Defendants knew or should have known that JUUL was

responsible for this increase in light of JUUL's admitted rapid growth, impressive market share,

and leadership in thee-vapor categ01y.

       100.    On May 10, 2016, the FDA issued a final mle, effective August 8, 2016, that

regulated vaping products by including them in the statuto1y definition of "tobacco product,"

making them subject to the Federal Food, Drug, and Cosmetic Act (the "FD&C Act"), as amended

by the Family Smoking Prevention and Tobacco Control Act.

       101.    On July 2 7, 2017, the FDA announced a "comprehensive regulatory plan to shift

trajectory of tobacco-related disease, death." Among other things, the statement disclosed :

       Importantly, the anticipated new enforcement policy will not affect any current
       requirements for cigarettes and smokeless tobacco, only the newly-regulated
       tobacco products such as cigars and e-cigarettes. This approach also will not apply
       to provisions of the fmal mle for which compliance deadlines already have passed,
       such as mandato1y age and photo-ID checks to prevent illegal sales to minors. It
       also will not affect future deadlines for other provisions of the mle, including, but
       not limited to, required warning statements, ingredient listing, health document
       submissions, hannful and potentially harmful constituent repo1ts, and the removal
       of modified risk claims, i.e., "light," "low," or "mild," or similar descriptors.
       In order to further explore how best to protect public health in the evolving tobacco
       marketplace, the agency also will seek input from the public on a variety of
       significant topics, including approaches to regulating kid-appealing flavors in e-
       cigarettes and cigars. In particular, the FDA intends to issue ANPRMs lAdvance
       Notices of Proposed Rule MakingJ to : 1) seek public comment on the role that
       flavors (including menthol) in tobacco products play in attracting youth and may
       play in helping some smokers switch to potentially less harmful fonns of nicotine
       delive1y ....

       102.    On April 23, 2018, Dr. Scott Gottlieb ("Gottlieb"), the FDA Commissioner at the

time, issued a statement "on new enforcement actions and a Youth Tobacco Prevention Plan to

stop youth use of, and access to, JUUL and other e-cigarettes." The statement noted :




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    TI1e troubling reality is that electronic nicotine delive1y systems (ENDS) such as e-
    cigarettes have become wildly popular with kids. We understand, by all accounts,
    many of them may be using products that closely resemble a USB flash drive, have
    high levels of nicotine and emissions that are hard to see. These characteristics
    may facilitate youth use, by making the products more attractive to children and
    teens.
    TI1ese products are also more difficult for parents and teachers to recognize or
    detect. Several of these products fall under the JUUL brand, but other brands,
    such as myblu and KandyPens, that have similar characteristics are emerging. In
    some cases, our kids are hying these products and liking them without even
    knowing they contain nicotine. And that's a problem, because as we know the
    nicotine in these products can rewire an adolescent's brain, leading to years of
    addiction. For this reason, the FDA must- and will- 11wve quickly to reverse these
    disturbing trends, and, in particular, address the surging youth uptake of JUUL
    and other products.
    To address all of these concerns, the FDA is announcing a series of new
    enforcement and regulato1y steps.
    First, we 're announcing that the FDA has been conducting a large-scale, undercover
    nationwide blitz to crack down on the sale of e-cigarettes specifically JUUL
    products - to minors at both brick-and-mo1tar and online retailers. TI1e blitz, which
    started April 6 and will continue to the end of the month, has already revealed
    numerous violations of the law.
    The illegal sale ofthese JUUL products to minors is concerning. In fact, just since
    the beginning of March, FDA compliance checks have uncovered 40 violations for
    illegal sales of JUUL products to youth. The FDA has issued 40 warning letters for
    those violations, which we are also announcing today. TI1is includes warning letters
    that are the result of the blitz. Others are a result of our sustained enforcement
    effo1ts to reduce tobacco product sales to minors. And we anticipate taking many
    more similar actions as a result of the ongoing blitz and our focus on enforcement
    related to youth access.
                                             ***
    Second, as pait of this effo1t, we also recently contacted eBay to raise concerns over
    several listings for JUUL products on its website. We're tl1ankful for eBay's swift
    action to remove tl1e listings and voluntarily implement new measures to prevent
    new listings from being posted to tl1e web retailer's site. Our overarching goal -
    one we hope everyone shai·es is to make sure JUUL, and any otl1er e-cigai·ettes or
    tobacco products, ai·en't getting into kids ' hands in tl1e first place.
    Third, we're also taking additional steps to contact the manufacturers directly,
    and hold them accountable. We need to examine all tl1e available info1mation to
    understand why kids ai·e finding tl1ese products so appealing and address it.
    That's why today, the FDA also sent an official request for information directly
    to JUUL Labs, requiring the company to submit important documents to better
    understand the reportedly high rates ofyouth use and the particular youth appeal


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       of these products. The info1mation we're requesting includes: documents related to
       product marketing; research on the health, toxicological, behavioral or physiologic
       effects of the products, including youth initiation and use; whether ce1tain product
       design features, ingredients or specifications appeal to different age groups; and
       youth-related adverse events and consumer complaints associated with the
       products. We don't yet fully understand why these products are so popular among
       youth. But it's imperative that we figure it out, and fast. These documents may help
       us get there.
       We plan to issue additional letters to other manufacturers of products that raise
       similar concerns about youth use. If these companies, including JUUL, don't
       comply with our requests, they will be in violation of the law and subject to
       enforcement.
       Fourth, we are planning additional enforcement actions focused on companies that
       we think are marketing products in ways that are misleading to kids. I will have
       more to say on this in the coming weeks.
(Emphasis added.)
       103.   The next day, April 24, 2018, the FDA's Director, Office of Science Center for

Tobacco Products ("CTP"), Dr. Matthew R. Holman, wrote to JUUL to request the submission of:

       documents relating to marketing practices and research on marketing, effects of
       product design, public health impact, and adverse experiences and complaints
       related to JUUL products. This request applies to research relating to all such
       tobacco products and their components or parts, including those products for
       research, investigational use, developmental studies, test marketing, and/or
       commercial marketing. FDA is requesting these documents based on growing
       concern about the popularity of JUUL products among youth. JUUL product use
       appears to be common in middle and high schools based on widespread media
       repo1ting describing a rapid growth of use among youth in general and on school
       property, numerous complaints that have been received by CTP, small research
       studies that have raised concerns, and social media evidence of youth use.
       Widespread reports of youth use of JUUL products are of great public health
       concern and no child or teenager should ever use any tobacco product Nicotine
       affects the developing brain and youth may not understand the nicotine or other
       characteristics of JUUL. JUUL products may have features that make them more
       appealing to kids and easier to use, thus causing increased initiation and/or use
       among youth. Similar to other electronic nicotine delive1y system (ENDS)
       products, JUUL product use during adolescence may lead to cigarette smoking or
       use of other tobacco products in the future. Their appeal may be related to different
       aspects of the product, including the product design, promotion, or distribution, and
       CTP seeks information to fu1ther understand the appeal and use.

       104.   On September 12, 2018, Gottlieb wrote to JUUL to info1m it the FDA "is

reevaluating its cmTent compliance policy with respect to JUUL brand products and similar


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products." The letter stated:

       To fulfill our public health mandate to address youth addiction to nicotine, FDA is
       reconsidering its compliance policy for submission of PMTAs lPremarket tobacco
       product applications Jfor your product and other similar products that were illegally
       sold by retailers ... including whether earlier enforcement of the premarket review
       provision might be wairnnted. The legal standai·d for FDA premai~ket review of a
       new tobacco product under the PMTA provision includes consideration of whether
       mai~keting of the product would be appropriate for the protection of the public
       health. As pa1t of our regulat01y decision-making, FDA will consider evidence that
       e-cigarettes, such as JUUL, contribute to youth use of and addiction to nicotine.
       Youth are especially vulnerable to the addictive effects of nicotine because their
       brains ai·e still developing. Because most tobacco use is established during
       adolescence, actions to prevent youth from the potential lifetime of nicotine
       addiction ai·e critical.
                                                ***
       FDA requests that you take prompt action to address the rate of youth use of JUUL
       products.
       FDA would like to discuss with you the steps you intend to take to address youth
       use of your product, in addition to the info1mation outlined in your letter of August
       7th. Given the importance of this issue, we request an acknowledgement of receipt
       of this letter within 15 days and a proposed timeline for meeting with FDA.
       FDA also requests that, within 60 days of receipt of this letter, you provide a written
       response to this letter that includes a detailed plan, including specific timeframes,
       to address and mitigate widespread use by minors. For instance, this plan may
       include:

           •   Discontinuing sales to retail establishments that have been subject to an
               FDA civil monetaiy penalty for sale of tobacco products to minors within
               the prior 12 months;

           •   Developing or strengthening any internal program you have to check on
               retailers, and repo1ting to FDA the name and address of retailers that have
               sold products to minors;

           •   Eliminating online sales, whether tlu·ough Internet storefronts controlled by
               your company or otl1er retailers, or providing evidence to demonstrate tl1at
               your company's online sales practices do not contribute to youth use of
               JUUL products;

           •   Revising your current mai·keting practices to help prevent use by minors;

           •   Removing flavored products from tl1e mai·ket until tl1ose products can be
               reviewed by FDA as pa1t of a PMTA.
       These are examples of actions tl1at you may take to demonstrate tl1at FDA should



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         continue to defer enforcement of the premarket review provisions with respect to
         JUUL products. You are encouraged to provide additional youth use prevention
         tools for FDA's consideration. The youth tobacco use prevention imperative could
         affect the marketing of products that may have potential public health benefit for a
         different population, namely, cigarette smokers who may be seeking alternative
         forms of nicotine delivery. We recognize the challenge here. But steps must be
         taken to protect the nation 's young people.
         105.   Altria was sent a similar letter by Gottlieb on September 12, 2018 concerning its

MarkTen vaping device.

         106.   On September 18, 2018, the FDA announced a "new, comprehensive campaign to

warn kids about the dangers of e-cigarette use as part of agency's Youth Tobacco Prevention Plan,

amid evidence of sharply rising use among kids." Gottlieb was quoted in the announcement as

saymg:

         E-cigarettes have become an almost ubiquitous - and dangerous - trend among
         youth that we believe has reached epidemic prop01tions. This troubling reality is
         prompting us to take even more forceful actions to stem this dangerous trend,
         including revisiting our compliance policy that extended the compliance dates for
         manufacturers of ce1tain e-cigarettes, including flavored e-cigarettes, to submit
         applications for premarket authorization. Based on our evidence, we believe the
         presence of flavors is one component making these products especially attractive to
         kids. The mandate to reverse this trend in youth addiction to nicotine is one of my
         highest priorities. I'm employing eve1y tool at my disposal in these effo1ts. As a
         parent, a survivor of cancer, and someone entlusted with responsibilities to protect
         our nation's kids from certain dangers I won't allow this rising youth use to
         continue on my watch. The new campaign we're announcing today seeks to snap
         teens out of their ' cost-free' mentality regarding e-cigarette use with powerful and
         creative messages that reach kids where they spend a lot of their time: online and
         in school. In paiticular, these compelling prevention messages will be displayed in
         high school bathrooms, a place we know many teens ai·e using e-cigai·ettes or faced
         with the peer pressure to do so.
         Even as we consider the potential benefits of innovative tobacco products and the
         role that some such products may play in reducing haim to cmTent adult smokers,
         the FDA won't tolerate a whole generation of young people becoming addicted to
         nicotine as a ti·adeoff for enabling adults to have unfettered access to these same
         products. No youth should be using any nicotine-containing product, and the ti·ends
         unde1way ai·e more than a small amount of casual experimentation among kids.
         They ai·e evidence of a significant swath of a generation of kids becoming regulai·
         users of nicotine. Kids who use e-cigai·ettes ai·e more likely to tly combustible
         cigai·ettes. And that jeopai·dizes the exti·aordinaiy public health gains we've made
         in reducing smoking rates in this nation. Making sure e-cigs ai·en't being mai·keted


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       to, sold to, or used by kids is a core priority and the guiding principle behind our
       effo1ts.

       107.    Altria and JUUL began "confidential discussions" about a potential equity purchase

when the Company contacted JUUL about a commercial relationship in early 2017.

       108.    On July 30, 2018, JUUL Defendant Pritzker sent an opening te1m sheet to Altria

Defendant Willard. JUUL Defendants Pritzker, Valani, and Burns met Altria Defendants Willard

and Gifford on August 1, 2018.

       109.    JUUL and Altria continued negotiating, and JUUL Defendant Valani met with

Altria Defendant Devitre.

       110.    During negotiations, JUUL insisted that Altria exit from the e-cigarette market was

a non-negotiable condition for any deal.

       111.    By early October 2018, Altria was willing to agree to JUUL' s demand.

Specifically, Altria Defendant Willard info1med JUUL Defendants Pritzker, Valani, and Bums that

the Company was amenable to exiting the e-cigarette market.

       112.    On October 25, 2018, Altria announced it would "remove from the market MarkTen

Elite and Apex by MarkTen pod-based products until these products receive a market order from

the FDA or the youth issue is othe1wise addressed."

       113.    JUUL stopped selling its other fmit and desse1t flavors in retail stores in 2018 and

online in October 2019.

       114.    On November 7, 2019, JUUL announced it would discontinue its mint flavor, which

represented approximately 70% of JUUL's U.S. sales.

       115.    On December 7, 2018, the Company issued a press release announcmg the

"discontinuation of production and distribution of all MarkTen and Green Smoke e-vapor products

and VERVE oral nicotine containing products. " The press release claimed the "decision is based



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upon the cmTent and expected financial perfo1mance of these products, coupled with regulat01y

restrictions that burden Altria's ability to quickly improve these products. TI1e company will

refocus its resources on more compelling reduced-1isk tobacco product opportunities."

         116.   TI1e press release added, "Altria expects to record one-time pre-tax charges of

approximately . 200 million, the majo1ity of which would be non-cash asset impailment charges,

in the fourth quarter of2018 as a result of this decision."

       117.     Negotiations between Altiia and JUUL resumed after the Company agreed not to

compete with JUUL.

         118.   TI1e negotiations leading to the agreements were conducted while JUUL was

expe1iencing ongoing legal difficulties. For example, on October 18, 2018, the comt in Colgate

v. JUUL Labs, Inc. declined to dismiss a purp01ted class action brought by thil·teen JUUL users,

three of whom were minors, alleging various causes of action based on the mislabeling of the

amount of nicotine contained in each JUUL pod. 345 F. Supp. 3d 1178 (N.D. Cal. 2018).

         119.   Vaping was also getting the attention of state and local regulators in 2018. In June

2018, San Francisco banned the use of flavored liquids for e-cigar·ettes. On July 24, 2018, the

Massachusetts Attorney General announced an investigation into JUUL's mar·keting and sale to

mmors.

      120.      On December 18, 2018, two days before Altiia announced its investment in JUUL,

the U.S. Surgeon General issued an advis01y on the "epidemic" of e-cigarette use by youths. TI1e

adviso1y singled out JUUL products as particular·ly problematic, stating:

         E-cigar·ettes ar·e a rapidly changing product class, and ar·e known by many different
         names, including "e-cigs," "ehookahs," "mods," and "vape pens." Recently, a new
         type of e-cigarette has become increasingly popular· among our nation's youtl1 due
         to its minimal exhaled aerosol, reduced odor, and small size, making it easy to
         conceal. Many of tl1ese new e-cigar·ettes look like a USB flash drive, among otl1er
         shapes. One of tl1e most commonly sold USB flash diive shaped e-cigar·ettes is



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       JUUL, which experienced a 600% surge in sales during 2016-2017, giving it the
       greatest market share of any e-cigarette in the U.S. by the end of 2017. Other
       companies are now also staiting to sell e-cigai·ettes that look like USB flash drives.
       All JUUL e-cigai·ettes have a high level of nicotine. A typical JUUL caitridge, or
       "pod," contains about as much nicotine as a pack of 20 regulai· cigai·ettes. TI1ese
       products also use nicotine salts, which allow paiticulai·ly high levels of nicotine to
       be inhaled more easily and with less initation than the free-base nicotine that has
       traditionally been used in tobacco products, including e-cigai·ettes. TI1is is of
       paiticulai· concern for young people, because it could make it easier for them to
       initiate the use of nicotine through these products and also could make it easier to
       progress to regulai· e-cigai·ette use and nicotine dependence. However, despite these
       1isks, approximately two-thirds of JUUL users aged 15-24 do not know that JUUL
       always contains nicotine.

       121.    TI1e SPA, RA, SA, and related agreements were announced on December 20, 2018.

Altria Defendant Willai·d stated in the press release announcing the agreements:

       We ai·e taking significant action to prepai·e for a future where adult smokers
       ove1whelmingly choose non-combustible products over cigai·ettes by investing
        12.8 billion in JUUL, a world leader in switching adult smokers. We have long
       said that providing adult smokers with supe1ior, satisfying products with the
       potential to reduce hai·m is the best way to achieve tobacco haim reduction.
       Tiu·ough JUUL, we ai·e making the biggest investment in our hist01y towai·d that
       goal. We strongly believe that working with JUUL to accelerate its mission will
       have long-term benefits for adult smokers and our shareholders.

(Emphasis added.)

       122.    Altria's press release was materially false and misleading because the Altria

Defendants knew, consciously disregai·ded, or were reckless in not knowing and failed to disclose:

(i) that JUUL's mai~keting was directed towai·ds adolescents and young adults; (ii) JUUL's

products were haimful and not a tobacco cessation product; (iii) JUUL's youth marketing scheme

subjected Altria, and Altria's investment in JUUL, to mate1ial 1isks and expenses, including

reputational, litigation and regulato1y actions and fines; (iv) the value of JUUL was significantly

overstated and severe regulatmy and litigation 1isks would negatively impact botl1 tl1e value of

JUUL and tl1e Company; (v) tl1e 1isks associated witl1 JUUL's products and marketing practices,

and tl1e tr·ue value of JUUL and its products were known to tl1e Altria Defendants but were not



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communicated to Altria investors; (vi) all of the foregoing, as well as mounting public scrntiny,

negative publicity, and governmental pressure on e-vapor products and JUUL in paiticular made

it reasonably likely that Altria's investment in JUUL would negatively affect Altria's reputation

and operations; (vii) Altria's agreements with JUUL violated antit:J.ust laws; and (viii) the

materialization of these risks would likely require Alt:J.ia to wiite-down a material po1tion of its

investment in JUUL.

           123.   Altria Defendant Bums said in the same press release:

           Altria's investment sends a ve1y cleai· message that JUUL's technology has given
           us a t:J.·uly histo1ic oppo1tunity to improve the lives of the world's one billion adult
           cigai·ette smokers. Tilis investment and the service agreements will accelerate our
           mission to increase the number of adult smokers who switch from combustible
           cigai·ettes to JUUL devices.

       124.        TI1e press release heaped praise on JUUL, its rapid growth, and its mai·ket shai·e,

stating:

           An Ext:J.·aordinai·y E-vapor Company with a St:J.·ong Product Pipeline
           Fueled by its unique and innovative Silicon Valley approach to product
           development and founded by former smokers, JUUL has rapidly built an indust:J.·y-
           leading position by satisfying adult tobacco consumers with its differentiated e-
           vapor products.
           JUUL has quickly grown both revenue and share, and today represents
           approximately 30% of the total U.S. e-vapor catego1y. JUUL has a deep innovation
           pipeline and currently operates in eight count:J.·ies, witl1 rapid international
           expansion plans.
           "Tilis is a unique and compelling oppo1tunity to invest in an ext:J.·aordinaiy
           company, tl1e fastest growing in tl1e U.S. e-vapor categ01y. We ai·e excited to
           support JUUL's llighly-talented team and offer our best-in- class services to build
           on tl1eir t:J.·emendous success," added Willai·d.
(Footnote omitted).

           125.    Tilis statement was materially false and misleading because tl1e Alt:J.·ia Defendants

knew or recklessly disregai·ded but failed to disclose tl1at JUUL's success was based p1irnai·ily on

sales of its vaping products to teenagers and young adults.




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         126.    TI1e press release claimed Altria's investment in JUUL would "Advance Altria's

Long-Te1m Tobacco Harm Reduction Goal." It stated :

         In 2000, Altria became the first and only company in the industry to support FDA
         regulation of tobacco products, an imp01tant step to providing accurate and
         scientifically-grounded communications about reduced-risk products to smokers.
        Today, the FDA has regulatory authority over all tobacco products, and the FDA
        distinguishes between the harm associated with combustible versus non-
        combustible products.
        Altria will pa1ticipate in thee-vapor category only tlu·ough JUUL. The investment
        complements Altlia's non-combustible offe1ings in smokeless and heat-not-burn,
        upon FDA autl1orization ofIQOS. 17

(Emphasis added.)

         127.    111is statement was materially false and misleading because tl1e Alu·ia Defendants

knew or recklessly disregarded but failed to disclose tl1at tl1e federal government, including tl1e

FDA and tl1e Surgeon General, had been warning about tl1e dangers ofvaping for nearly a year.

         128.    Altria acknowledged tl1e risks of youtl1 vaping in the December 20, 2018 press

release but downplayed tl1em, stating:

         Commitment to Underage Tobacco Prevention
        Altria and JUUL are committed to preventing youtl1 from using any tobacco
        products. As recent studies have made clear, youtl1 vaping is a se1ious problem,
        wllich botl1 Altria and JUUL are committed to solve. As JUUL previously said,
        "Our intent was never to have youtl1 use JUUL products. But intent is not enough,
        the numbers are what matter, and the numbers tell us underage use of e-cigarette
        products is a problem."
        As a result, JUUL recently began implementing a number of actions to prevent
        underage vaping, including stopping tl1e sales of flavored products to retail stores,
        enhancing age-ve1ification for its online sales, eliminating social media accounts
        and developing fU1ther technology solutions.
        JUUL believes tl1at it cannot fulfill its mission to provide tl1e world's one billion
         adult smokers witl1 a hue alternative to combustible cigarettes if youtl1 use
         continues unabated. Togetl1er, JUUL and Alu·ia will work to prevent youtl1 usage

17
  IQOS is a "HeatStick" developed by Altria and Philip Morris International, Inc. ("PMI") that looks like a cigarette
and heats tobacco instead of burning it IQOS has been sold in other countries since 2014, and it was approved by the
FDA in 2019. Altria is marketing the IQOS in the United States under agreement with PMI.



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       through their announced initiatives, fu1ther technological developments and
       increased advocacy for raising the minimum age of purchase for all tobacco
       products to 21.

        129.   Tilis statement was materially false and misleading because the Altria Defendants

knew or recklessly disregarded but failed to disclose that Altria and JUUL were not committed to

preventing underage vaping but rather were counting on the continued use of JUUL's products in

order to maintain and increase their profits.

        130.   Altria Defendant Willard said during a conference call with analysts on December

20, 2018 following the announcement of the Company's JUUL investment, " liJmportantly, Altria

and nJUL are committed to preventing kids from using any tobacco products. As recent studies

have made clear, youth vaping is a serious problem, wllich both Altria and JUUL are committed

to solve."

        131.   Tilis statement was materially false and misleading because Willard knew or

recklessly disregarded but failed to disclose that Altria and JUUL were not "committed to

preventing kids from using any tobacco products" or solving the "problem" of underage vaping.

       132.    On Febma1y 20, 2019, Altria filed a Fo1m 8-K with the SEC that included as an

attachment remarks made that day by Willard at the Consumer Analyst Group of New York

conference in Boca Raton, Florida. Willard said during llis presentation:

       We entered last year with a desire to strengthen our competitive position with regard
       to reduced-harm products for adult smokers. We wanted to expand our future
       growth prospects beyond the domestic tobacco catego1y. And we wanted to create
       a strong, stable business platfo1m for Altria that we believe would succeed no
       matter what tobacco catego1y choices adult consumers make.
                                                ***
       We've followed JUUL's journey rather closely. Two yeai·s ago, JUUL grew
       rapidly but in a small number of retail stores. Other e-vapor products had acllieved
       periods of brief catego1y leadership often driven by introductmy offers, so we
       watched nJUL cai·efully to see if it had staying power. We knew JUUL had a
       unique product, but it wasn't clear· whether the product and the brand had the ability
       to establish long-te1m leadership and brand equity. During 2018, we concluded that


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       JUUL had not only become the retail share leader in the U.S. e-vapor catego1y, but
       that no other brand was close to it in share or future growth potential.
       In addition, it was not until we conducted in-depth due diligence in the fourth
       quarter of 2018 that we fully grasped the many other strengths and capabilities
       that we believe position JUUL for long-term leadership and growth both in the
       U.S. and internationally. For example, we saw that their product pipeline was
       significantly more developed, and tl1at tl1eir manufacturing capabilities and
       international plans were more robust tl1an we believed. We tl1en became convinced
       that JUUL was far more tl1an anotl1er temporary leader and tl1at tl1ey' d built a
       platfo1m for long-te1m success in e-vapor.

(Emphasis added.)

        133.    Tilis statement was materially false and misleading because Willar·d knew or

recklessly disregar·ded but failed to disclose tl1at tl1at JUUL, wllich uses a nicotine salt formulation

of nicotine extracted from natural tobacco leaves and tlms qualified as a tobacco product,

specifically tar·geted youtl1 as customers of JUUL products, as described herein.

        134.    On Febrnary 6, 2019, Gottlieb wrote to Willar·d and requested a meeting regar·ding

Altria's investment in JUUL and its effects on use ofvaping products by minors. TI1e letter said:

       I am writing to request a meeting witl1 you regar·ding representations you made in
       a meeting witl1 Food and Drng Administration (FDA) senior leadership on October
       18, 2018, and in a written submission tl1at followed , where you acknowledged tl1at
       Altria Group, Inc. has an obligation to take action to help address tl1e mounting
       epidemic of youtl1 addiction to tobacco products.
       After Altria's acquisition of a 35 percent ownership interest in JUUL Labs, Inc.,
       your newly announced plans with JUUL contradict the commitments you made
       to the FDA. Wizen we meet, Altria should be prepared to explain how this
       acquisition affects the full range of representations you made to the FDA and the
       public regarding your plans to stop marketing e-cigarettes and to address the
       crisis ofyouth use of e-cigarettes.
        I am awar·e of deeply concerning data showing tl1at youtl1 use of JUUL represents
        a significant prop01tion of tl1e overall use of e-cigar·ette products by children. I have
        no reason to believe tl1ese youtl1 patterns of use ar·e abating in tl1e near· te1m, and
        they ce1tainly do not appear· to be reversing. Manufacturers have an independent
        responsibility to take action to address tl1e epidemic of youtl1 use of tl1eir products.
       My office will contact you to arTange a meeting to discuss tl1ese issues. Pursuant to
       your request, we intend to schedule tl1is as a joint meeting witl1 botl1 Altria and
       JUUL.



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(Emphasis added.)

           135.     Gottlieb sent an identical letter to JUUL Defendant Bums the same day.

           136.     Altria initially did not have to obtain Hart-Scott-Rodino Act ("HSR") antit:J.ust

clearance because it took a non-voting stake in JUUL. In Febrnaiy 2019, Alt:J.ia filed for HSR

cleai·ance when it sought to conve1t its interest into voting securities and activate the 1ight to

appoint tlu·ee of tl1e nine members of JUUL's boai·d. Alt:J.·ia's filing brought tl1e non-compete

provisions in tl1e RA to tl1e FTC 's attention.

           137.     Altria filed its annual repo1t for tl1e fiscal yeai· ended December 31 , 2018, on Fo1m

10-K, witl1 tl1e SEC on Febrnaiy 26, 2019 (tl1e "2018 -10-K"). The annual repo1t minimized tl1e

unce1tainty of tl1e regulat01y and legal environment SU1Tounding vaping products by stating:

           Underage Access and Use of E-vapor Products: The FDA announced in
           September 2018 tl1at it is using its regulat01y autl101ity to address underage access
           and use of e-vapor products. As pait of tl1is effo1t, tl1e FDA issued letters to
           manufacturers of ce1tain e-vapor products, including Nu Mai·k and JUUL, requiring
           them to (1) discuss witl1 tl1e FDA tl1e steps each manufacturer intends to take to
           address youth access and use of its e-vapor products and (2) witllin 60 days provide
           a detailed written plan to address underage access and use.
           In October 2018, Alt:J.·ia responded to tl1e FDA's request for a written plan setting
           fortl1 tl1e actions it was taking to address underage access and met witl1 tl1e FDA.
           In December 2018, Altria refocused its innovative product efforts, which included
           the discontinuation of all Nu Marke-vapor products. Altria's decision was based
           on current and expected financial performance of its innovative products, as well
           as regulatory restrictions limiting the ability to quickly improve such products.
           Later in December, Alt:J.ia purchased, tlu·ough a wholly owned subsidia1y, a 35%
           economic interest in JUUL. Following tl1e announcement of this investment, Alt:J.ia
           requested a meeting witl1 tl1e FDA to discuss tl1e t:J.·ansaction and its ongoing support
           for underage tobacco prevention. In February 2018 [sic],1 8 the FDA sent Altria a
           letter expressing concern about this investment given the rise in underage use of
           e-vapor products and issued a statement indicating that, if the increased trend in
           underage use ofe-vapor products does not reverse, the FDA may unilaterally take
           action to address the trend. Altria responded by reaffirming its ongoing and long-
           standing investment in underage tobacco prevention efforts. For example, Alt:J.·ia
           is advocating raising tl1e minimum legal age to purchase all tobacco products to 21
           at tl1e federal and state levels to furtl1er address underage tobacco use. Alt:J.ia will

18
     The correct year is February 2019.



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           meet with the FDA to continue discussing underage e-vapor use.
(Emphasis added.)

           138.     TI1e 2018 10-K was signed by Defendant Willard, Defendant Gifford, and Ivan S.

Feldman, then-current Altria Controller, and Willard on behalf of the rest of the members of

Alt:ria's Board, i.e., Altria Defendants Casteen, Devitre, Fan-ell, Kelly-Ennis, Kiely, McQuade,

Mufi.oz, Newman, Sakkab, and Shanks. In addition, Willard and Gifford signed certifications

pursuant to the Sarbanes-Oxley Act of 2002 ("SOX") attesting that the annual report "fairly

presents, in all material respects, the financial condition and results of operations of the Company."

           139.     TI1e above-cited language in the 2018 10-K was materially false and misleading

 because the Altria Defendants knew or recklessly disregarded, among other things, (i) that JUUL

 targeted youth to purchase its products and the money Altria invested in JUUL would be used to

 target underage consumers of JUUL products, as described herein; and (ii) Altria's

 discontinuation of its own e-cigarette products resulting from its anti-competitive agreement with

 JUUL and not from concern about underage vaping.

           140.     Fmther, Willard's and Gifford 's SOX ce1tifications were materially false and

 misleading for the reasons cited in the preceding paragraph.

           141.     On March 19, 2019, CNBC rep01ted that Gottlieb said that a meeting held the prior

week with Altria and JUUL was "difficult" and "Gottlieb said he did not come away with any

evidence that public health concerns drove Altria's decision to invest in Juul, and instead salidJ it

looks like a business decision." 19 Gottlieb "reiterated that the FDA will consider pulling all pod-

based e-cigarettes from the market if teen vaping trends don't improve," and accused Altria and

JUUL executives of "reneging on promises they made to help combat teen vaping."2 0


19
     Kate Rooney, Altria shares fall after FDA 's Gottlieb describes 'difficult' meeting on Juul, CNBC (Mar. 9, 2019).
20   Id.



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       142.    TI1e price of Altria stock declined by . 1.29 per share, or over 2%, on March 19,

2019 on this news.

       143.    On April 3, 2019, the FDA issued a statement warning that the agency had "become

aware that some people who use e-cigarettes have experienced seizures, with most repo1ts

involving youth or young adult users." TI1e statement noted that "a recent uptick in voluntaiy

repo1ts of adverse experiences with tobacco products that mentioned seizures occurring with e-

cigai·ette use ( e.g., vaping) signal a potential emerging safety issue." TI1e statement said the FDA

"continues to monitor all adverse experiences rep01ted to the agency about the use of e-cigai·ettes

and encourages the public to report cases of individuals who use e-cigai·ettes and have had a

seizure."

       144.    Altria's closing stock price declined by 2. 71 per shai·e, or neai·ly 5%, on April 3

on heavy trading volume.

       145.    On April 8, 2019, Senator Richai·d J. Durbin sent a letter to Defendant Bums on

behalf of himself and ten fellow Senators demanding the production of documents. The letter

criticized JUUL's relationship with Altria, stating:

       Neai·ly one yeai· ago, many of us wrote to you urging that your company
       immediately take action to reduce youth use of the dangerous and addictive JUUL
       vaping device. One yeai· later, JUUL is more populai· than ever with children and
       your company has decided to team up with Big Tobacco giant Altria-the maker of
       Mai-lboro cigai·ettes, the most populai· cigai·ette among children in the United States-
       in a paitnership that the American Heai·t Association has called "a match made in
       tobacco heaven." TI1e corporate maniage between two companies that have been
       the most prolific at mai·keting highly addictive nicotine products to children is
       alaiming from a public health standpoint and demonstrates, yet again, that JUUL is
       more interested in padding its profit mai·gins than protecting our nation's children.
       We write today seeking more information regai·ding JUUL's tactics to hook
       children on nicotine and to understand what your merger with Altiia means for the
       public health.

       146.    On May 16, 2019, Alti·ia held its annual shai·eholder meeting. Alti·ia Defendant

Willai·d claimed dming the meeting that the Company was awai·e of litigation against JUUL when


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Altria decided to invest in JUUL.

        147.    TI1e Subcommittee on Economic and Consumer Policy of the Committee on

Oversight and Refo1m of the United States House of Representatives held a hearing on July 24-

25 , 2019 entitled "Examining JUUL' s Role in the Youth Nicotine Epidemic." Numerous witnesses

testified at the hearing about JUUL ' s effo1ts to market its products to underage individuals, JUUL' s

claims regarding the safety of its products, its use of nicotine-salt e-liquids in its products, and the

concentration of nicotine in its products. On September 9, 2019, the FDA' s Director, CTP, wrote

to JUUL and requested documents related to the issues raised during the hearing.

        148.    On August 27, 2019, Altria announced it was "in discussions with Philip Morris

International, Inc. l"PMI"J regarding a potential all-stock, merger of equals." TI1e merger was

estimated to be wo1th approximately 200 billion.

        149.    On August 29, 2019, The Wall Street Journal reported the FTC was investigating

whether JUUL used marketing practices to appeal to minors.

        150.    On August 30, 2019, the FDA and CDC issued a joint statement announcing that

they were "working tirelessly to investigate the distressing incidents of severe respi.rato1y disease

associated with use of e-cigarette products." TI1e joint statement added that the agencies "learnl ed J

of the death of an adult in Illinois who had been hospitalized with a severe respi.rato1y illness

following the use of an e-cigarette product." TI1e joint statement also disclosed that, as of August

27, 2019, 215 possible cases of respi.rato1y illness associated with e-cigarette use had been

repo1ted, and that "additional rep01ts of pulmonaiy illness ai·e under investigation."

        151.    Between the close of trading on August 28, 2019 and August 30, 2019, the closing

price of Altria stock declined by . 2 .11 , or over 4 %.

        152.    On September 9, 2019, the FDA' s Director, Office of Compliance and Enforcement




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Center for Tobacco Products sent a Warning Letter to JUUL stating the "FDA has dete1mined that

JUUL adulterated its products under section 902(8) of the FD&C Act (21 U.S.C. § 387b(8)) by

selling or distributing them as modified 1isk tobacco products without an FDA order in effect that

pe1mits such sale or distribution." The Warning Letter demanded that JUUL "immediately

c01Tect" the violations desc1ibed in the letter, "as well as violations that are the same as or similar

to those stated above, and take any necessary actions to b1ing your tobacco products into

compliance with the FD&C Act."

        153.    On September 12, 2019, the CDC announced the "first national aggregate based on

the new CDC case defmition developed and shar·ed with states in late August." The CDC repo1ted

that "As of September 11 , 2019, 380 confirmed and probable cases of lung disease associated with

e-cigarette product use, or vaping, were reported by 36 states and the U.S. Virgin Islands. " In

addition, there were six deaths in six different states.

        154.    The next tr·ading day, September 13, 2019, Altria stock declined . 2.45 per shar·e, or

5.5%, to close at 42.01.

        155.    On September 23, 2019, the Wall Street Journal reported that "lfJederal prosecutors

in California ar·e conducting a criminal probe into lJUULJ."

        156.   According to the August 29, 2019 article in The Wall Str·eet Journal, JUUL's

regulatory risks were complicating the merger talks between Altr·ia and PMI. On September 25,

2019, Altria issued a press release stating merger discussions with PMI had te1minated. The CEO

of PMI was quoted in a press release issued by that company the same day as saying, "After much

deliberation, the companies have agreed to focus on launching IQOS in the U.S. as par·t of their

mutual interest to achieve a smoke-free future." (Emphasis added.)

        157.   Also, on September 25 , 2019, JUUL announced its CEO, JUUL Defendant Bums,




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would step down and that it would discontinue all adve1tising in the U.S. Bums was replaced as

CEO by Altria Defendant Crosthwaite, who was Altria's Senior Vice President, Chief Strategy and

Growth Officer, from June 2018 until September 2019. Before being appointed JUUL CEO,

Crosthwaite sat on JUUL's board as a non-voting observer from Altria with access to JUUL's

confidential inf01mation. Altria made a "special recognition" payment of 2.5 million upon

Crosthwaite's departure from Altria to JUUL.

        158.    Altria Defendant Gifford replaced Crosthwaite as Altria's JUUL Boar·d observer.

Gifford became Altria 's CEO following Individual Defendant Willar·d 's retirement as CEO and

Chailman of the Boar·d on April 14, 2020.

        159.    On October 14, 2019, Willar·d responded by letter to Senator Durbin 's request for

info1mation. The letter stated in part:

        In late 2017 and into early 2018, we saw that the previously flat e-vapor catego1y
        had begun to grow rapidly. JUUL was responsible for much of the category growth
        and had quickly become a very compelling product among adult vapers. We
        decided to pursue an economic interest in JUUL, believing that an investment
        would significantly improve our ability to bring adult smokers a leading p01tfolio
        of non-combustible products and strengtl1en our competitive position witl1 regar·ds
        to potentially reduced 1isk products.

        160.    On October 31 , 2019, Altria announced in a press release concerning its tl1il·d

quarter and nine-montl1 results tl1at it was wiiting off . 4.5 billion of its . 12.8 billion investment in

JUUL. The press release said:

        Altria recorded a tl1il·d-quarter non-cash pre-tax impailment char·ge of 4.5 billion
        related to its investment in JUUL. While tl1ere was no single dete1minative event
        or factor, Altria considered impailment indicators in totality, including: increased
        likelihood of U.S. Food & Drng Administr·ation (FDA) action to remove flavored
        e-vapor products from tl1e mar·ket pending a mar~ket autl10rization decision, va1ious
        e-vapor bans put in place by ce1tain cities and states in tl1e U.S. and in ce1tain
        international mar·kets, and otl1er factors.

        161.    Tlu·ee months later, on January 30, 2020, Altr·ia announced in a press release

regarding its 2019 fomth quar·ter and full-year· results tl1at it was wiiting off an additional 4.1


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billion ofits JUUL investment, for a total of 8.6 billion, or over 67% ofits 12.8 investment. TI1e

press release said:

        Altria recorded a fomth-quaiter, non-cash pre-tax impailment chai·ge of 4.1 billion
        related to its investment in JUUL. This impairment is primarily due to the
        increased number of legal cases pending against JUUL and the ~pectation that
        the number of legal cases against JUUL will continue to increase. Since October
        31, 2019, the number oflegal cases pending against JUUL has increased by 11wre
        than 80%. Altria has not made any assumptions, or drawn any conclusions,
        regarding the merits or likelihood of success of any of these cases, litigation is
        subject to uncertainty and it is possible that there could be adverse developments in
        pending or future cases. For 2019, Altria recorded a total of 8.6 billion in non-cash
        pre-tax impailment chai·ges to its JUUL investment, bringing the value of its JUUL
        investment to 4.2 billion as of December 31 , 2019.
(Emphasis added.)

        162.    TI1e press release also announced amendments to the SPA and the RA. Among

other things, the SPA was amended to provide that the eai·liest date before which Altria could

abandon its eff01ts to obtain antit:J.ust cleai·ance is December 31 , 2021 or, if eai·lier, the date the

FTC commences litigation or closes its investigation.

        163.    TI1e price of Alt:J.ia stock declined by 2.11 , or over 4%, on Januaiy 30, 2020 to

close at 48.00 per shai·e.

        164.    On Januaiy 2, 2020, sho1tly before Alt:J.ia announced its second JUUL impailment,

the FDA announced it was "p1ioritizing enforcement'' of unauthorized flavored tobacco (other than

menthol) in ENDS e-cigarette products. According to the press release announcing the action,

"youth preference for menthol- and tobacco-flavored e-cigai·ettes is much lower than that for mint-

and fruit-flavored e-cigai·ettes."

        165.    By eai·ly 2020, the CDC had announced dozens of deaths and thousands of

hospitalizations due to lung injuries caused by vaping.

        166.    On Januaiy 30, 2020, Altria announced amendments to its agreements with JUUL

in a press release. According to the press release:


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       Altria and JUUL agreed to revised te1ms governing Altria's minority investment in
       JUUL, which include the following provisions:

           •   Altria and JUUL are focusing their work together to create compelling pre-
               market tobacco product applications (PMTA) based on rigorous scientific
               research and data-driven underage use prevention eff01ts. As a result, Altria
               will continue providing regulatory affairs services to JUUL, which includes
               supporting the company in preparing and submitting its PMTA. Altria will
               discontinue all other services by the end of March 2020 that were part of the
               original investment agreement.

           •   JUUL wili upon antitmst clearance from the U.S. Federal Trade
               Commission under the Hart-Scott-Rodino Act, restructure its board of
               directors to consist of two directors designated by Altria, three independent
               directors, the JUUL CEO and tlu·ee directors designated by JUUL
               stockholders other tl1an Altria.

           •   Upon antitrust clearance, the restructured JUUL Board of Directors will add
               a nominating committee and a litigation oversight committee to its existing
               compensation and audit committees.

           •   Altria has the option to be released from its non-compete obligation if JUUL
               is prohibited by federal law from selling e-vapor products in the U.S. for at
               least a year, or if Altria's canying value of the JUUL investment is not more
               than 10% of its initial canying value of 12.8 billion.
        167.    On Februaiy 21 , 2020, The Wall Street Jo urnal reported that tl1e SEC had launched

an investigation into whether Altria fully disclosed to its shai·eholders the risks associated witl1 the

JUUL Investment.

        168.   Altria stock closed at 45.89 per share on Febmai·y 21 , 2020. By Febmai·y 25,

2020, two tr·ading days later, Altria stock closed at 42.49 per shai·e, a decline of 3.40 per shai·e,

or over 7%.

        169.   Altria filed its annual report for 2019, on Form 10-K, witl1 the SEC on Febmaiy 25,

2020 (the "2019 10-K"), after tl1e mai·kets closed. The Company conceded in tl1e repo1t tl1at the

JUUL investment was not benefitting Altria as expected. The 2019 10-K stated:

       In 2019, we dete1mined that our investment in JUUL was impaired in pait due to
       the increase in tl1e number and type of legal cases pending against JUUL, especially
       in the fourth quaiter of 2019. This impailment and the 1isks associated with our
       JUUL investment ai·e discussed fu1ther in The expected benefits of tl1e JUUL


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    transaction may not materialize in the expected manner or timeframe or at all.
                                             ***
    The expected benefits of the JUUL transaction may not materialize in the
    expected manner or timeframe or at all.
    Regardless of whether antitlust clearance is obtained, the expected benefits of the
    JUUL t:1·ansaction may not materialize in the expected manner or timeframe or at
    all, including due to the risks encountered by JUUL in its business, such as
    operational risks and regulato1y risks at the international, federal, state and local
    levels, including actions by the FDA, and adverse publicity due to underage use of
    e-vapor products and other factors ; unanticipated impacts on JUUL's relationships
    with employees, customers, suppliers and other third parties; potential disrnptions
    to JUUL's management or CU1Tent or futme plans and operations; or domestic or
    international litigation developments, investigations, or othe1wise. As discussed in
    Note 19, JUUL and Alt:1·ia and/or its subsidiar·ies, including PM USA, ar·e named as
    defendants in various individual and class action lawsuits. JUUL also is named in
    a significant number of additional individual and class action lawsuits to which
    neither Altlia nor its subsidiaries is a par·ty. See Tobacco Space - Business
    Environment in Item 7 for a discussion of ce1tain FDA-related regulat01y risks
    applicable to the e-vapor catego1y, including the potential removal of ce1tain e-
    vapor products from the mar·ket as a result of FDA enforcement action and the
    potential denial of new tobacco product applications for e-vapor products. Failme
    to realize the expected benefits of our JUUL investment could adversely affect the
    value of the investment.
    As discussed in Note 7, in 2019, as part of the prepar·ation of om fmancial
    statements for the periods ended September 30, 2019 and December 31 , 2019, we
    performed valuations of om investment in JUUL. As a result, we dete1mined that
    our investment in JUUL was impaired and recorded a total pre-tax impairment
    char·ge of 8.6 billion for the year· ended December 31 , 2019, reported as
    impairment of JUUL equity secmities in om consolidated statements of earnings.
    Of this amount, Alt:1·ia recorded pre-tax char·ges of 4.5 billion in the third quarter
    of 2019 and 4.1 billion in the fomth quarter of 2019. The third quarter impairment
    char·ge was due primarily to lower e-vapor sales volume assumptions in the U.S.
    and international mar·kets and a delay in achieving operating mar·gin perfo1mance,
    as compared to the assumptions at the time of the JUUL t:1·ansaction. The fomth
    quarter impailment char·ge resulted substantially from increased discount rates
    applied to future cash flow projections, due to the increase in the number and type
    of legal cases pending against JUUL dming the fomth quarter of 2019. While we
    believe the December 31 , 2019 valuation of 4.2 billion is the appropriate cmrent
    fail· value of our investment, the 1isks identified in this par·agraph, some of which
    ar·e also further discussed in Note 19 and in Item 7. Tobacco Space - Business
    Envil·onment, ar·e ongoing with respect to the cmTent fail· value. If the fail· value of
    our investment in JUUL continues to decrease, it could have a mate1ial adverse
    effect on Altlia's consolidated fmancial position or earnings.
    Our investment in JUUL includes non-competition, standstill and transfer



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       restrictions that prevent us from gaining control of JUUL. Furthermore, ifwe
       elect not to extend our non-competition obligations beyond December 20, 2024,
       we would lose certain of our governance, consent, preemptive and other rights
       with respect to our investment in JUUL.
       TI1e shares of JUUL we hold generally cannot be sold or otherwise t:ransfe1Ted until
       December 20, 2024, subject to limited exceptions. We also generally agreed not to
       compete with JUUL in thee-vapor categ01y until at least December 20, 2024, which
       may be extended at our election. If, however, JUUL is prohibited by federal law
       from selling e-vapor products in the U.S. for at least one year or if Altria' s canying
       value of the JUUL investment is not more than 10% of its initial can-ying value of
        . 12.8 billion, we may compete with JUUL in the e-vapor catego1y prior to
       December 20, 2024. In addition, following receipt of antitrust clearance, JUUL' s
       board of directors will include nine members, tlu·ee of whom will be designated by
       Altria, including one independent designee. JUUL 's strategy and its material
       decisions are not and will not be controlled by us, and tl1e te1ms of our agreements
       with JUUL mean tl1at we are required to bear tl1e 1isks associated witl1 our
       investment in JUUL until at least December 20, 2024, subject to tl1e exceptions
       mentioned above. Furtl1er, if we elect not to extend our non-competition obligations
       beyond tl1at date, we would lose some or all of our board designation rights,
       preemptive rights, consent rights and other 1ights witl1 respect to our investment in
       JUUL. Loss of tl1ese 1ights could adversely affect us by impailing our ability to
       influence JUUL.
(Emphasis in original.)

       170.    On Ap1il 1, 2020, tl1e FTC filed an administrative complaint against Altiia and

JUUL alleging tl1e SPA and its accompanying agreements violated Section 1 oftl1e She1man Act,

15 U.S.C. § 1, Section 5 oftl1e FTC Act, as amended, 15 U.S.C. § 45 , and Section 7 oftl1e Clayton

Act, as amended, 15 U.S.C. § 18. TI1e complaint alleged tl1at "Altiia's investment in JlUULJ and

its nearly simultaneous decision to exit tl1e relevant market in order to meet JlUUL J's demands not

only eliminated its existing e-cigarette products from tl1e market but also, tlu-ough tl1e Non-

Compete lin tl1e Relationship AgreementJ, halted its ongoing innovation effo1ts toward developing

a new and improved p01tfolio of products."

       171.    TI1e complaint sought, among otl1er tl1ings, " lrJelief tl1at restores lAltiia' s and

JUUL'sJ incentives to compete in tl1e relevant market, including, as approp1iate, divestiture of

Altiia's equity stake in JlUULJ, rescission of Altiia's purchase of that stake, and/or any other



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relief."

       172.    On October 30, 2020, Altria announced in a press release that it was writing off an

additional 2.6 billion related to its investment in JUUL because of "Altria's projections of lower

JUUL revenues over time due to lower pricing assumptions and delays in JUUL achieving

previously forecasted operating margin perfo1mance." As of September 30, 2020, the value of

Altria's . 12.8 billion investment in JUUL was reduced to                 1.6 billion.   In addition,

contemporaneous media rep01ts stated that JUUL had cut its valuation to 10 billion, a drop of 28

billion from Altria's estimated valuation of JUUL of 38 billion in December 2018.

       173.    According to Altria's Fo1m 10-Q for the quarter ended September 30, 2020, which

was filed with the SEC on October 30, 2020 (the "3Q20 F01m 10-Q"), there ai·e 1,145 sepai·ate

vaping lawsuits pending against the Company. TI1is " liJncludes 25 class action lawsuits, two of

which were filed in Canada, 1,064 individual lawsuits, 31 state or local government lawsuits and

25 lawsuits filed by school districts relating to JUUL e-vapor products. JUUL is an additional

named defendant in each of these lawsuits." The class actions allege "violation of RICO, fraud,

failure to wain, design defect, negligence and unfair trade practices."

       174.    TI1e 3Q20 F01m 10-Q also predicted a troubled future for the JUUL investment:

       As pa1t of the prepai·ation of its financial statements for the periods ended
       September 30, 2020 and 2019 and December 31 , 2019, Altria performed qualitative
       assessments of impailment indicators for its investment in JUUL and dete1mined
       that indicators of impailment existed.
       JUUL announced a strategic update in September 2020, which includes its plans
       for a significant global workforce reduction, its evaluation of its resource allocation
       and the possibility of exiting various international mai·kets. As pa1t of the
       prepai·ation of Altria's financial statements for the period ended September 30,
       2020, Altiia perfo1med its qualitative assessment of impailment indicators for its
       investment in JUUL and determined that JUUL's sti·ategic update was an indicator
       of impailment at September 30, 2020, given the significant deterioration in
       JUUL 's business prospects.
       Given the existence of this impail·ment indicator, Altiia perfo1med a quantitative
       valuation of its investment in JUUL as of September 30, 2020 and recorded a non-


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       cash pre-tax charge of . 2.6 billion for the nine and tlu·ee montlis ended September
       30, 2020, reported as impailment of JUUL equity securities in its condensed
       consolidated statements of earnings. TI1e impailment charge was driven by Altria's
       projections of lower JUUL revenues over time due to lower pricing assumptions
       and delays in JUUL achieving previously forecasted operating margin perfo1mance.
       TI1ese drivers were tl1e result of: (i) JUUL's revised international expansion plans
       and (ii) tl1e evolving U.S. e-vapor catego1y and associated competitive dynamics.
(Emphasis added.)

        175.   TI1e 3Q20 F01m 10-Q also warned tl1ere may be "additional impail·ment charges to

Alt::ria's investment in JUUL in future periods."

        176.   On November 12, 2020, Altria announced it was conve1ting its non-voting shares

in JUUL to voting shares, pursuant to tl1e SPA. TI1e press release announcing tl1e conversion said,

"Altria does not CU1Tently intend to exercise its additional governance rights obtained upon

conversion, including tl1e right to elect dil·ectors to JUUL's board, or to vote its JUUL shares otl1er

than as a passive investor, pending tl1e outcome of tl1e lFTC J litigation."

        177.   TI1e statements in tl1e December 20, 2018 press release, Willard's remarks on

December 20, 2018 and Febrnaiy 20, 2019, and tl1e language in tl1e 2019 10-K were all materially

false and misleading. Altria and JUUL were not committed to eliminating underage use of JUUL' s

products. Rather, Altria knew its attempt to create and mai·ket its own e-cigai·ette was not as

successful as JUUL's. Altria also knew by December 2018 tl1at JUUL's success was based

primaiily on mai·keting flavored nicotine pods to minors and young adults. Altiia's investment in

JUUL was intended to help tl1e Company keep pace with a lai·ge and growing mai·ket for alternative

nicotine delive1y devices and hook new, young customers, ratl1er tl1an convince combustible

cigai·ette smokers to switch to e-cigarettes. JUUL was not "committed to preventing youtl1 from

using any tobacco products" because it aggressively mai~keted its products to underage smokers

for several yeai·s p1ior to Altiia's investment, and continued to do so after tl1e SPA. In addition,

Altria failed to wain investors adequately of tl1e legal and regulat01y 1isks smrnunding ENDS e-


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cigarette products, paiticularly JUUL's, and their potential effect on the value of the Company's

investment in JUUL.

                                  DAMAGE TO IBE COMPANY

         178.   As a result of the Altria Defendants' breaches of their fiducia1y duties and other

wrongful conduct, and the JUUL Defendants ' aiding and abetting thereof, Altria has suffered

billions of dollai·s in damage.

         179.   Altria's 12.8 billion investment in JUUL is now estimated to be worth 1.6 billion,

a decline of 87.5% in less than two yeai·s. Altria's stock closed at 51.40 per shai·e on December

19, 2018, the day before the agreements with JUUL were announced. Neai·ly two yeai·s later,

Altria's stock now consistently trades in tl1e 40 range. Furtl1er impailment chai·ges to Altria's

investment in JUUL likely will result in additional losses and decreases in tl1e Company's stock

pnce.

         180.   TI1e Company has incmrnd and will continue to expend substantial amounts

defending tl1e vaping-related lawsuits pending agamst it. TI1ese actions may result in substantial

liability.

         181.   In addition, according to tl1e 3 Q20 F01m 10-Q,           "l iJf tl1e FTC ' s challenge is
successful, tl1e FTC may order a broad range ofremedies, including divestiture of Altria's minority

investment in JUUL, rescission of tl1e transaction and all associated agreements, and prohibition

against any officer or dil·ector of eitl1er Altria or JUUL serving on tl1e otl1er pai·ty's boai·d of

dil·ectors or attending meetings of tl1e otl1er paity's boai·d of dil·ectors."

         182.   TI1e Company is facing tl1e Securities Action, a stockholder class action alleging

false and misleading statements and omissions under tl1e Exchange Act relating to Altria's

investment in JUUL. Klein, et al. v. Altria Group, Inc., et al. , No. 20-cv-00075-DJN (E.D. Va.).




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TI1e failure of the Board to implement and maintain adequate internal controls over fmancial

repo1ting, which resulted in the false statements described above, among others, also poses a

substantial 1isk of liability for the Company.

       183.    TI1e talks about a potential merger with PMI have been called off as a result of the

JUUL investment.

       184.    Altria also damaged its reputation within the business community and in the capital

markets, as evidenced by the decline in its market capitalization since the JUUL investment.

                                    DERIVATIVE ALLEGATIONS

       185.    Plaintiff brings this action derivatively in the 1ight and for the benefit of Altria to

redress injuries suffered, and to be suffered, by Altiia as a direct result of breaches of fiduciary

duty, waste of corporate assets, and unjust emichment, as well as the aiding and abetting thereof,

by the defendants. Altiia is named as a nominal defendant solely in a de1ivative capacity. TI1is is

not a collusive action to confer jUiisdiction on this CoUit that it would not otherwise have.

       186.    Plaintiff owned Alti·ia stock at all times during the time of the wrongful course of

conduct constituting the basis for the claims asse1ted herein and continues to hold such stock.

       187.    Plaintiff will adequately and fairly represent the interests of Altiia and its

shai·eholders in prosecuting and enforcing its rights, and has retained competent and expe1ienced

counsel to prosecute this action.

                         DEMAND ON IBE BOARD WAS REFUSED
                          FOR PLAINTIFF'S STATE LAW CLAIMS

       188.    On December 10, 2020, Plaintiff made the Demand on the Company and theBoai·d

pursuant to Va. Code Ann. § 13.1-672.l(B)(l) to investigate and commence legal proceedings

against the Defendants named herein. (Exhibit A).

       189.    On Mai·ch 4, 2021 , the Boai·d responded to Plaintiffs Demand, stating in full :



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        TI1e Altria board has authorized this response to your client's December 4 and 10
        letters. The board is familiar with the history and current status of Altria's
        investment in JUUL and, as pait of its inquily regai·ding the matters raised in your
        letters, will continue to be actively engaged in monitoring and overseeing that
        investment. TI1e boai·d is also actively engaged in monitoring and overseeing the
        FTC, securities and other litigation referenced in your letters, as well as the ongoing
        government inquilies concerning JUUL and e-vapor products generally.
        TI1e Altria boai·d believes that it is in the best interests of Altria to defend itself in
        these proceedings, which ai·e at a ve1y preliminai·y stage. After there have been
        further developments, the board will make a timely and appropriate
        determination on the matters raised by your letters, and that dete1mination will
        promptly be communicated to you. In any event, we will update you once there is
        a decision on the motion to dismiss the secmities litigation.

(Emphasis added (Exhibit B) .)

         190.    TI1e Boai·d 's Mai·ch 4, 2021 letter constitutes a refusal of Plaintiff's Demand. Fil·st,

the Boai·d's response notes its familiai·ity with the allegations, but then fails to address them.

Second, the letter makes cleai· that the Boai·d will not consider or answer Plaintiff's Demand at this

time, or indeed at any ascertainable time in the future. According to the language, the Boai·d will

not consider or make a dete1mination on the Demand until " laJfter there have been further

developments" in the Secmities Action. 21

         191.    TI1e Company has refused to take suitable action in response to Plaintiffs Demand.

Consequently, Plaintiff's Demand has been constructively refused by tl1e Boai·d.

         192.    Plaintiff's Demand was served on December 10, 2020 and, as of Mai·ch 10, 2021 ,

the 90-day pe1iod to respond expil·ed. Irrepai·able injury to Alu·ia will result by waiting for any

longer to commence an action against tl1e Company. The JUUL investment has been a significant

drain on tl1e Company's resources, and Alu·ia continues to face substantial liability and expenses

aiising from tl1e numerous cases pending against it, including tl1e FTC complaint. As a result, it


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  Purported Altria stockholders Maria Cecilia Lorca Thomas Sandys, and Eric Gilbert previously made separate
demands on the Board pursuant to Virginia law to investigate and commence litigation regarding the JUUL investment
Upon information and belief, the Board likewise declined to take suitable action in response to each demand within
ninety days from the date delivery of the written demand was made on the corporation.



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is imperative for the Company to limit its liability and hold the defendants accountable as quickly

as possible. The failure to do so will result in continuing fmancial iITeparable injury.

        193.   On March 12, 2021 , U.S. District Court Judge Nitza I. Quinones Alejandro, sitting

for this District Comt, substantially denied Altria, the Altria Defendants and the JUUL Defendants '

motion to dismiss the Securities Action, fmding, inter alia :

       Plaintiffs have pled sufficient facts that JUUL targeted youth for its products and
       that all Defendants knew that JUUL targeted youth. Moreover, Plaintiffs have pled
       sufficient facts that Defendants recognized the 1isks that this marketing scheme
       posed to the value of JUUL and Altria, yet they chose not to disclose it to investors
       for fear of deflating the values of the company. Although Defendants will have the
       oppo1tunity to present additional facts and defenses as this litigation continues, at
       this stage the Co Ult f mds that Plaintiffs have pled facts sufficient to survive the
       Motions to Dismiss.

(Securities Action, Dkt. E. 140 at page 42). This finding guarantees the need for the Company to

expend additional significant defense costs and is yet another step towards class wide liability in

the Secmities Action.

        194.   Plaintiff has thus satisfied the condition precedent in Va. Code Ann. § 13.1-

672.1 (B) to initiating a derivative action on behalf of Altria concerning her state law claims.

                                       DEMAND IS FUTILE

        195.   Federal Rule of Civil Procedure 23.l(b)(3) requires a de1ivative complaint to "state

with paiticulaiity: (A) any effort by the plaintiff to obtain the desired action from the directors ..

  and (B) the reasons for not obtaining the action or not making the effo1t."

        196.   Plaintiff demanded pursuant to Virginia law that the Boai·d "initiate and complete

an investigation into and commence legal proceedings against ce1tain of Altiia's cmTent and

former directors and officers for violations of the SecU1ities Exchange Act of 1934 ... , breaches

of fiduciaiy duties, violations of the antitiust statutes, waste of corporate assets, unjust emichment,

and violations of all other laws, regulations, and rnles related to the wrongdoing described in this



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demand regarding Altria's investment in and relations with JUUL Labs, Inc."

          197.   As discussed herein, Plaintiff's Demand under Virginia law has been refused by the

 Board.

          198.   As a result, demand is futile with respect to all claims asse1ted herein, including

those a.rising under the Securities Exchange Act. 22

                                                   COUNTI

                         Against the Altria Defendants for Violations of
                   Section lO(b) of the Securities Exchange Act and Rule lOb-5

          199.   Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

          200.   During the Relevant Period, the Altria Defendants disseminated or approved false

or misleading statements about Altria and JUUL, which they knew or recklessly disregarded were

false or misleading and were intended to deceive, manipulate, or defraud.                      Those false or

misleading statements and the Altria Defendants ' course of conduct aitificially inflated the price

of the Company's common stock.

          201.   The Altria Defendants violated section 10(b) of the Securities Exchange Act and

SEC Rule 10b-5 in that they : (i) employed devices, schemes, and aitifices to defraud ; (ii) made

untrue statements of material facts or omitted to state material facts necessaiy in order to make the

statements made, in light of the circumstances under which they were made, not misleading.

          202.   The Altria Defendants, individually and collectively, directly and indirectly, by the

use of means or instrumentalities of interstate commerce or of the mail: (i) engaged and

paiticipated in a continuous course of conduct that operated as a fraud and deceit upon the



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  Because Plaintiff was required by Virginia law to make a demand on the Board , she has not conceded the Board 's
independence.



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Company; (ii) made various false or misleading statements of material facts and omitted to state

material facts necessary in order to make the statements made, in light of the circumstances under

which they were made, not misleading; and (iii) made the above statements intentionally or with a

severely reckless disregard for the truth; and (iv) employed devices and artifices to defraud in

connection with the purchase and sale of Altria stock, which were intended to, and did: (a) deceive

Altria and its stockholders regarding, among other things, the Company's operations and fmancial

prospects; and (b) artificially inflate and maintain the market p1ice of Altria stock. Tiu·oughout the

Relevant Period, the Altria Defendants were in possession of mate1ial, nonpublic info1mation

regarding the above.

       203.      TI1e Altria Defendants were the directors and the senior managers of the Company,

and were therefore directly responsible for, and are liable for, all mate1ially false or misleading

statements made dming tl1e Relevant Pe1iod, as alleged above.

       204.      As desc1ibed above, tl1e Altr·ia Defendants acted witl1 scienter tlu-oughout tl1e period

of wrongdoing, in tl1at tl1ey acted eitl1er witl1 intent to deceive, manipulate, or defraud, or witl1

severe recklessness. TI1e misstatements and omissions of mate1ial facts set fo1th in tl1is Complaint

were eitl1er known to tl1e Altria Defendants or were so obvious tl1at tl1ey should have been aware

of tl1em. Tiu-oughout tl1e period of wrongdoing, tl1e Altria Defendants also had a duty to disclose

new info1mation tl1at came to tl1eir attention and rendered tl1eir prior statements to tl1e market

mate1ially false or misleading.

       205.      As a result of tl1e Altria Defendants ' misconduct, tl1e Company has and will suffer

damages in tl1at it suffered losses when tl1e previously undisclosed facts relating to tl1e wrongdoing

was disclosed.

       206.      By reason of such conduct, tl1e Altr·ia Defendants are liable to tl1e Company




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pursuant to section lO(b) of the Securities Exchange Act and SEC Rule lOb-5.

         207.       Plaintiff brings this claim within two years of the discovery of the facts constituting

the violation and within five years of the violation.

                                                  COUNT II

                    Against the Altria Defendants for Breaches of Fiduciary Duties

         208.       Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

         209.       TI1e Altria Defendants owed and owe Altria fiduciaiy obligations. By reason of

their fiduciaiy relationships, the Altria Defendants owed and owe Altria the obligation to act with

loyalty, good faith, candor, and due cai·e.

         210.       TI1e Altria Defendants knew, consciously disregai·ded, or were reckless in not

knowing that JUUL's products were hai·mful, mai·keted to underage customers, and facing

increasing regulatory scrutiny and litigation, and that the agreements with JUUL violated the

antit:J.ust laws.

         211.       In addition, the Alt:J.ia Defendants made, condoned, and/or failed to c01Tect the

mate1ially false statements desc1ibed herein.

         212.       Each and eve1y one of the Alt:J.ia Defendants breached their fiduciai·y duties to the

 Company.

         213.       Altria has sustained significant damages as a direct and proximate result of the

Altria Defendants ' breaches of their fiduciaiy obligations.

         214.       TI1e Alt:J.·ia Defendants ai·e liable to the Company for the damage caused by their

breaches of their fiduciaiy duties.

         215.       Plaintiff, on behalf of Alt:J.ia, has no adequate remedy at law.




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                                               COUNT ill

                     Against the JUUL Defendants for Aiding and Abetting

          216.   Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

          217.   By knowingly inducing the Altria Defendants to invest in JUUL as alleged herein,

the JUUL Defendants knowingly pa1ticipated in the Altria Defendants ' breaches of fiducia1y duty.

          218.   TI1e Company suffered, and is suffering, damages as a proximate result of the Altria

Defendants' breach of fiduciary duty.

          219.   Consequently, tl1e JUUL Defendants aided and abetted tl1e Altria Defendants in

their breaches of tl1eir fiduciary duties.

          220.   TI1e JUUL Defendants ai·e tl1erefore liable to Altria for tl1e damages Altria has

sustained.

          221.   Plaintiff, on behalf of Altria, has no adequate remedy at law.

                                               COUNT IV

                  Against the Altria Defendants for Waste of Corporate Assets

          222.   Plaintiff incorporates by reference and realleges each and every allegation

contained above, as tl10ugh fully set forth herein.

          223.   As a result of tl1e breaches of fiduciai·y duties described herein, tl1e Altria

Defendants caused Altria to waste its assets by grossly overpaying for its investment in JUUL.

          224.   TI1e Altria Defendants ai·e liable to tl1e Company as a result of tl1e waste of corporate

assets.

          225.   Plaintiff, on behalf of Altria, has no adequate remedy at law.




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                                              COUNTV

                      Against the Altria Defendants for Uniust Enrichment

          226.   Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

          227.   TI1e Altria Defendants were unjustly emiched as a result of tl1e compensation and

director remuneration they received while breaching tl1eir fiduciary duties owed to Altria.

          228.   Plaintiff, as a shareholder and representative of Altria, seeks restitution from the

Altria Defendants, and each of tl1em, and seeks an order of tllis Comt disgorging all profits,

benefits, and otl1er compensation obtained by tl1ese defendants, and each of tl1em, from tl1eir

breaches of tl1eir fiduciaiy duties.

          229.   Plaintiff, on behalf of Altria, has no adequate remedy at law.

                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiff prays for judgment against all Defendants as follows :

     A.          Declaiing that Plaintiff may maintain tl1is derivative action on behalf of Altria and

that Plaintiff is a proper and adequate representative of tl1e Company;

     B.          Declaiing that tl1e Altria Defendants violated section lO(b) of the Securities

Exchange Act and SEC Rule lOb-5 ;

     C.          Declaiing that tl1e Altria Defendants breached their fiducia1y duties to the

Company;

     D.          Declaiing that tl1e JUUL Defendants aided and abetted tl1e Altria Defendants in

their breaches of fiduciaiy duty;

     E.          Determining and awai·ding against all of the defendants and in favor of the

Company for tl1e amount of damages sustained by the Company as a result of the defendants'


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violations of the Securities Exchange Act, breaches of fiduciaiy duties, aiding and abetting of the

breaches of fiduciaiy duty, waste of corporate assets, and unjust enrichment;

     F.         Awai·ding to Altria restitution from the Altria Defendants and the JUUL Defendants

and ordering disgorgement of all improperly attained profits, benefits, and other compensation

obtained by them;

     G.          Directing Altria to take all necessaiy actions to refo1m and improve its corporate

governance and internal procedures to enable the Company to comply with all applicable laws,

and to protect the Company from recurrence of the events described herein;

     H.          Awai·ding Plaintiff the costs and disbursements of the action, including reasonable

attorneys' fees, expe1ts' fees, costs, and expenses; and

     I.         Granting such other and further relief as the Court deems just and proper.

                                          JURY DEMAND

          Plaintiff hereby demands a trial by jmy.

Dated: Mai·ch 28, 2021                                    Isl Steven T. Webster
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                                            UNITED STATES DISTRICT COURT
                                            EASTERN DISTRICT OF VIRGINIA


              MARGARET A. RANDOLPH, TRUSTEE                    )
              FOR THE MARGARET A. RANDOLPH                     )
              REVOCABLE TRUST U/A 03/06/97,                    )   Case No. : 3:21cv00209
              Derivatively on Behalf of ALTRIA GROUP ,         )
              INC.,                                            )
                                                               )
                                                Plaintiff,     )   PLAINTIFF'S VERIFICATION
                                                               )
                      V.                                       )
                                                               )
                                                               )
             WILLIAM F. GIFFORD, JR., HOWARD A.                )
             WILLARD ill, JOHN T. CASTEEN ill,                 )
             DINYAR S. DEVITRE, THOMAS F.                      ~
             FARRELL II, DEBRA J. KELLY-ENNIS, W.              )
             LEO KIELY III, KATIIRYN B. MCQUADE,               )
             GEORGE MUNOZ, MARKE. NEWMAN,                      ~
             NABIL Y. SAKKAB, VIRGINIA E.                      )
             SHANKS, ELLEN R. STRAHLMAN, KEVIN                 )
             C. CROSTHWAITE, JR. , ADAM BOWEN,                 )
             KEVIN BURNS, JAMES MONSEES, RIAZ                  )
             V ALAN!, NICHOLAS J. PRITZKER, and                ~
             JUUL LABS, INC.,                                  )
                                                               )
                                               Defendants,     )
                                                               )
                      and,                                     )
                                                               )
              ALTRIA GROUP, INC.,                              )
                                       Nominal Defendant.


                                VERIFICATION OF MARGARET A. RANDOLPH
                           PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 23.l(b)

                     I, Margaret A. Randolph, hereby ve1ity that I have authorized the filing of the attached

             Verified Shareholder Derivative Complaint and that the facts therein are true and c01Tect to the

             best of my knowledge, information, and belief.
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              Case 3:21-cv-00209-DJN Document 1 Filed 03/28/21 Page 65 of 65 PageID# 227




                        I declare under penalty of pe1jury that the foregoing is true and correct.



                         3/27/2021
             D ated :




                                                                                ~TA. RANDOLPH




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